Case 8:21-cv-01943-JLS-KES Document 24-2 Filed 04/22/22 Page 1 of 38 Page ID #:234




                          EXHIBIT 1
3/26/22,Case   8:21-cv-01943-JLS-KES
        10:31 AM                          Document
                               Frequently Asked Questions24-2
                                                         about theFiled 04/22/22
                                                                   GNU Licenses        Page- Free
                                                                                - GNU Project 2 ofSoftware
                                                                                                   38 Page       ID
                                                                                                           Foundation   #:235

  Frequently Asked Questions about the GNU Licenses
  Table of Contents
         Basic questions about the GNU Project, the Free Software Foundation, and its licenses
         General understanding of the GNU licenses
         Using GNU licenses for your programs
         Distribution of programs released under the GNU licenses
         Using programs released under the GNU licenses when writing other programs
         Combining work with code released under the GNU licenses
         Questions about violations of the GNU licenses


  Basic questions about the GNU Project, the Free Software Foundation, and its licenses

         What does “GPL” stand for?
         Does free software mean using the GPL?
         Why should I use the GNU GPL rather than other free software licenses?
         Does all GNU software use the GNU GPL as its license?
         Does using the GPL for a program make it GNU software?
         Can I use the GPL for something other than software?
         Why don't you use the GPL for manuals?
         Are there translations of the GPL into other languages?
         Why are some GNU libraries released under the ordinary GPL rather than the Lesser GPL?
         Who has the power to enforce the GPL?
         Why does the FSF require that contributors to FSF-copyrighted programs assign copyright to the FSF? If
         I hold copyright on a GPLed program, should I do this, too? If so, how?
         Can I modify the GPL and make a modified license?
         Why did you decide to write the GNU Affero GPLv3 as a separate license?

  General understanding of the GNU licenses

         Why does the GPL permit users to publish their modified versions?
         Does the GPL require that source code of modified versions be posted to the public?
         Can I have a GPL-covered program and an unrelated nonfree program on the same computer?
         If I know someone has a copy of a GPL-covered program, can I demand they give me a copy?
         What does “written offer valid for any third party” mean in GPLv2? Does that mean everyone in the
         world can get the source to any GPLed program no matter what?
         The GPL says that modified versions, if released, must be “licensed … to all third parties.” Who are these
         third parties?
         Does the GPL allow me to sell copies of the program for money?
         Does the GPL allow me to charge a fee for downloading the program from my distribution site?
         Does the GPL allow me to require that anyone who receives the software must pay me a fee and/or notify
         me?
         If I distribute GPLed software for a fee, am I required to also make it available to the public without a
         charge?
         Does the GPL allow me to distribute a copy under a nondisclosure agreement?
         Does the GPL allow me to distribute a modified or beta version under a nondisclosure agreement?
         Does the GPL allow me to develop a modified version under a nondisclosure agreement?
         Why does the GPL require including a copy of the GPL with every copy of the program?
         What if the work is not very long?
         Am I required to claim a copyright on my modifications to a GPL-covered program?
         What does the GPL say about translating some code to a different programming language?
         If a program combines public-domain code with GPL-covered code, can I take the public-domain part
         and use it as public domain code?
         I want to get credit for my work. I want people to know what I wrote. Can I still get credit if I use the
         GPL?

https://www.gnu.org/licenses/gpl-faq.en.html#WhoHasThePower                                                                     1/37
3/26/22,Case   8:21-cv-01943-JLS-KES
        10:31 AM                          Document
                               Frequently Asked Questions24-2
                                                         about theFiled 04/22/22
                                                                   GNU Licenses        Page- Free
                                                                                - GNU Project 3 ofSoftware
                                                                                                   38 Page       ID
                                                                                                           Foundation   #:236
         Does the GPL allow me to add terms that would require citation or acknowledgment in research papers
         which use the GPL-covered software or its output?
         Can I omit the preamble of the GPL, or the instructions for how to use it on your own programs, to save
         space?
         What does it mean to say that two licenses are “compatible”?
         What does it mean to say a license is “compatible with the GPL”?
         Why is the original BSD license incompatible with the GPL?
         What is the difference between an “aggregate” and other kinds of “modified versions”?
         When it comes to determining whether two pieces of software form a single work, does the fact that the
         code is in one or more containers have any effect?
         Why does the FSF require that contributors to FSF-copyrighted programs assign copyright to the FSF? If
         I hold copyright on a GPLed program, should I do this, too? If so, how?
         If I use a piece of software that has been obtained under the GNU GPL, am I allowed to modify the
         original code into a new program, then distribute and sell that new program commercially?
         Can I use the GPL for something other than software?
         I'd like to license my code under the GPL, but I'd also like to make it clear that it can't be used for
         military and/or commercial uses. Can I do this?
         Can I use the GPL to license hardware?
         Does prelinking a GPLed binary to various libraries on the system, to optimize its performance, count as
         modification?
         How does the LGPL work with Java?
         Why did you invent the new terms “propagate” and “convey” in GPLv3?
         Is “convey” in GPLv3 the same thing as what GPLv2 means by “distribute”?
         If I only make copies of a GPL-covered program and run them, without distributing or conveying them
         to others, what does the license require of me?
         GPLv3 gives “making available to the public” as an example of propagation. What does this mean? Is
         making available a form of conveying?
         Since distribution and making available to the public are forms of propagation that are also conveying in
         GPLv3, what are some examples of propagation that do not constitute conveying?
         How does GPLv3 make BitTorrent distribution easier?
         What is tivoization? How does GPLv3 prevent it?
         Does GPLv3 prohibit DRM?
         Does GPLv3 require that voters be able to modify the software running in a voting machine?
         Does GPLv3 have a “patent retaliation clause”?
         In GPLv3 and AGPLv3, what does it mean when it says “notwithstanding any other provision of this
         License”?
         In AGPLv3, what counts as “ interacting with [the software] remotely through a computer network?”
         How does GPLv3's concept of “you” compare to the definition of “Legal Entity” in the Apache License
         2.0?
         In GPLv3, what does “the Program” refer to? Is it every program ever released under GPLv3?
         If some network client software is released under AGPLv3, does it have to be able to provide source to
         the servers it interacts with?
         For software that runs a proxy server licensed under the AGPL, how can I provide an offer of source to
         users interacting with that code?

  Using GNU licenses for your programs

         How do I upgrade from (L)GPLv2 to (L)GPLv3?
         Could you give me step by step instructions on how to apply the GPL to my program?
         Why should I use the GNU GPL rather than other free software licenses?
         Why does the GPL require including a copy of the GPL with every copy of the program?
         Is putting a copy of the GNU GPL in my repository enough to apply the GPL?
         Why should I put a license notice in each source file?
         What if the work is not very long?
         Can I omit the preamble of the GPL, or the instructions for how to use it on your own programs, to save
         space?
         How do I get a copyright on my program in order to release it under the GPL?
         What if my school might want to make my program into its own proprietary software product?
         I would like to release a program I wrote under the GNU GPL, but I would like to use the same code in
         nonfree programs.

https://www.gnu.org/licenses/gpl-faq.en.html#WhoHasThePower                                                                     2/37
3/26/22,Case   8:21-cv-01943-JLS-KES
        10:31 AM                          Document
                               Frequently Asked Questions24-2
                                                         about theFiled 04/22/22
                                                                   GNU Licenses        Page- Free
                                                                                - GNU Project 4 ofSoftware
                                                                                                   38 Page       ID
                                                                                                           Foundation   #:237
         Can the developer of a program who distributed it under the GPL later license it to another party for
         exclusive use?
         Can the US Government release a program under the GNU GPL?
         Can the US Government release improvements to a GPL-covered program?
         Why should programs say “Version 3 of the GPL or any later version”?
         Is it a good idea to use a license saying that a certain program can be used only under the latest version
         of the GNU GPL?
         Is there some way that I can GPL the output people get from use of my program? For example, if my
         program is used to develop hardware designs, can I require that these designs must be free?
         Why don't you use the GPL for manuals?
         How does the GPL apply to fonts?
         What license should I use for website maintenance system templates?
         Can I release a program under the GPL which I developed using nonfree tools?
         I use public key cryptography to sign my code to assure its authenticity. Is it true that GPLv3 forces me
         to release my private signing keys?
         Does GPLv3 require that voters be able to modify the software running in a voting machine?
         The warranty and liability disclaimers in GPLv3 seem specific to U.S. law. Can I add my own disclaimers
         to my own code?
         My program has interactive user interfaces that are non-visual in nature. How can I comply with the
         Appropriate Legal Notices requirement in GPLv3?

  Distribution of programs released under the GNU licenses

         Can I release a modified version of a GPL-covered program in binary form only?
         I downloaded just the binary from the net. If I distribute copies, do I have to get the source and
         distribute that too?
         I want to distribute binaries via physical media without accompanying sources. Can I provide source
         code by FTP instead of by mail order?
         My friend got a GPL-covered binary with an offer to supply source, and made a copy for me. Can I use
         the offer to obtain the source?
         Can I put the binaries on my Internet server and put the source on a different Internet site?
         I want to distribute an extended version of a GPL-covered program in binary form. Is it enough to
         distribute the source for the original version?
         I want to distribute binaries, but distributing complete source is inconvenient. Is it ok if I give users the
         diffs from the “standard” version along with the binaries?
         Can I make binaries available on a network server, but send sources only to people who order them?
         How can I make sure each user who downloads the binaries also gets the source?
         Does the GPL require me to provide source code that can be built to match the exact hash of the binary I
         am distributing?
         Can I release a program with a license which says that you can distribute modified versions of it under
         the GPL but you can't distribute the original itself under the GPL?
         I just found out that a company has a copy of a GPLed program, and it costs money to get it. Aren't they
         violating the GPL by not making it available on the Internet?
         A company is running a modified version of a GPLed program on a web site. Does the GPL say they must
         release their modified sources?
         A company is running a modified version of a program licensed under the GNU Affero GPL (AGPL) on a
         web site. Does the AGPL say they must release their modified sources?
         Is use within one organization or company “distribution”?
         If someone steals a CD containing a version of a GPL-covered program, does the GPL give him the right
         to redistribute that version?
         What if a company distributes a copy of some other developers' GPL-covered work to me as a trade
         secret?
         What if a company distributes a copy of its own GPL-covered work to me as a trade secret?
         Do I have “fair use” rights in using the source code of a GPL-covered program?
         Does moving a copy to a majority-owned, and controlled, subsidiary constitute distribution?
         Can software installers ask people to click to agree to the GPL? If I get some software under the GPL, do
         I have to agree to anything?
         I would like to bundle GPLed software with some sort of installation software. Does that installer need to
         have a GPL-compatible license?


https://www.gnu.org/licenses/gpl-faq.en.html#WhoHasThePower                                                                     3/37
3/26/22,Case   8:21-cv-01943-JLS-KES
        10:31 AM                          Document
                               Frequently Asked Questions24-2
                                                         about theFiled 04/22/22
                                                                   GNU Licenses        Page- Free
                                                                                - GNU Project 5 ofSoftware
                                                                                                   38 Page       ID
                                                                                                           Foundation   #:238
         Does a distributor violate the GPL if they require me to “represent and warrant” that I am located in the
         US, or that I intend to distribute the software in compliance with relevant export control laws?
         The beginning of GPLv3 section 6 says that I can convey a covered work in object code form “under the
         terms of sections 4 and 5” provided I also meet the conditions of section 6. What does that mean?
         My company owns a lot of patents. Over the years we've contributed code to projects under “GPL version
         2 or any later version”, and the project itself has been distributed under the same terms. If a user decides
         to take the project's code (incorporating my contributions) under GPLv3, does that mean I've
         automatically granted GPLv3's explicit patent license to that user?
         If I distribute a GPLv3-covered program, can I provide a warranty that is voided if the user modifies the
         program?
         If I give a copy of a GPLv3-covered program to a coworker at my company, have I “conveyed” the copy to
         that coworker?
         Am I complying with GPLv3 if I offer binaries on an FTP server and sources by way of a link to a source
         code repository in a version control system, like CVS or Subversion?
         Can someone who conveys GPLv3-covered software in a User Product use remote attestation to prevent
         a user from modifying that software?
         What does “rules and protocols for communication across the network” mean in GPLv3?
         Distributors that provide Installation Information under GPLv3 are not required to provide “support
         service” for the product. What kind of “support service” do you mean?

  Using programs released under the GNU licenses when writing other programs

         Can I have a GPL-covered program and an unrelated nonfree program on the same computer?
         Can I use GPL-covered editors such as GNU Emacs to develop nonfree programs? Can I use GPL-
         covered tools such as GCC to compile them?
         Is there some way that I can GPL the output people get from use of my program? For example, if my
         program is used to develop hardware designs, can I require that these designs must be free?
         In what cases is the output of a GPL program covered by the GPL too?
         If I port my program to GNU/Linux, does that mean I have to release it as free software under the GPL
         or some other free software license?
         I'd like to incorporate GPL-covered software in my proprietary system. I have no permission to use that
         software except what the GPL gives me. Can I do this?
         If I distribute a proprietary program that links against an LGPLv3-covered library that I've modified,
         what is the “contributor version” for purposes of determining the scope of the explicit patent license
         grant I'm making—is it just the library, or is it the whole combination?
         Under AGPLv3, when I modify the Program under section 13, what Corresponding Source does it have
         to offer?
         Where can I learn more about the GCC Runtime Library Exception?

  Combining work with code released under the GNU licenses

         Is GPLv3 compatible with GPLv2?
         Does GPLv2 have a requirement about delivering installation information?
         How are the various GNU licenses compatible with each other?
         What is the difference between an “aggregate” and other kinds of “modified versions”?
         Do I have “fair use” rights in using the source code of a GPL-covered program?
         Can the US Government release improvements to a GPL-covered program?
         Does the GPL have different requirements for statically vs dynamically linked modules with a covered
         work?
         Does the LGPL have different requirements for statically vs dynamically linked modules with a covered
         work?
         If a library is released under the GPL (not the LGPL), does that mean that any software which uses it has
         to be under the GPL or a GPL-compatible license?
         You have a GPLed program that I'd like to link with my code to build a proprietary program. Does the
         fact that I link with your program mean I have to GPL my program?
         If so, is there any chance I could get a license of your program under the Lesser GPL?
         Using a certain GNU program under the GPL does not fit our project to make proprietary software. Will
         you make an exception for us? It would mean more users of that program.
         If a programming language interpreter is released under the GPL, does that mean programs written to
         be interpreted by it must be under GPL-compatible licenses?
https://www.gnu.org/licenses/gpl-faq.en.html#WhoHasThePower                                                                     4/37
3/26/22,Case   8:21-cv-01943-JLS-KES
        10:31 AM                          Document
                               Frequently Asked Questions24-2
                                                         about theFiled 04/22/22
                                                                   GNU Licenses        Page- Free
                                                                                - GNU Project 6 ofSoftware
                                                                                                   38 Page       ID
                                                                                                           Foundation         #:239
         If a programming language interpreter has a license that is incompatible with the GPL, can I run GPL-
         covered programs on it?
         If I add a module to a GPL-covered program, do I have to use the GPL as the license for my module?
         When is a program and its plug-ins considered a single combined program?
         If I write a plug-in to use with a GPL-covered program, what requirements does that impose on the
         licenses I can use for distributing my plug-in?
         Can I apply the GPL when writing a plug-in for a nonfree program?
         Can I release a nonfree program that's designed to load a GPL-covered plug-in?
         I'd like to incorporate GPL-covered software in my proprietary system. I have no permission to use that
         software except what the GPL gives me. Can I do this?
         I'd like to incorporate GPL-covered software in my proprietary system. Can I do this by putting a
         “wrapper” module, under a GPL-compatible lax permissive license (such as the X11 license) in between
         the GPL-covered part and the proprietary part?
         Can I write free software that uses nonfree libraries?
         Can I link a GPL program with a proprietary system library?
         What legal issues come up if I use GPL-incompatible libraries with GPL software?
         I'm writing a Windows application with Microsoft Visual C++ and I will be releasing it under the GPL. Is
         dynamically linking my program with the Visual C++ runtime library permitted under the GPL?
         I'd like to modify GPL-covered programs and link them with the portability libraries from Money
         Guzzler Inc. I cannot distribute the source code for these libraries, so any user who wanted to change
         these versions would have to obtain those libraries separately. Why doesn't the GPL permit this?
         If license for a module Q has a requirement that's incompatible with the GPL, but the requirement
         applies only when Q is distributed by itself, not when Q is included in a larger program, does that make
         the license GPL-compatible? Can I combine or link Q with a GPL-covered program?
         In an object-oriented language such as Java, if I use a class that is GPLed without modifying, and
         subclass it, in what way does the GPL affect the larger program?
         Does distributing a nonfree driver meant to link with the kernel Linux violate the GPL?
         How can I allow linking of proprietary modules with my GPL-covered library under a controlled
         interface only?
         Consider this situation: 1) X releases V1 of a project under the GPL. 2) Y contributes to the development
         of V2 with changes and new code based on V1. 3) X wants to convert V2 to a non-GPL license. Does X
         need Y's permission?
         I have written an application that links with many different components, that have different licenses. I
         am very confused as to what licensing requirements are placed on my program. Can you please tell me
         what licenses I may use?
         Can I use snippets of GPL-covered source code within documentation that is licensed under some
         license that is incompatible with the GPL?

  Questions about violations of the GNU licenses

         What should I do if I discover a possible violation of the GPL?
         Who has the power to enforce the GPL?
         I heard that someone got a copy of a GPLed program under another license. Is this possible?
         Is the developer of a GPL-covered program bound by the GPL? Could the developer's actions ever be a
         violation of the GPL?
         I just found out that a company has a copy of a GPLed program, and it costs money to get it. Aren't they
         violating the GPL by not making it available on the Internet?
         Can I use GPLed software on a device that will stop operating if customers do not continue paying a
         subscription fee?
         What does it mean to “cure” a violation of GPLv3?
         If someone installs GPLed software on a laptop, and then lends that laptop to a friend without providing
         source code for the software, have they violated the GPL?
         Suppose that two companies try to circumvent the requirement to provide Installation Information by
         having one company release signed software, and the other release a User Product that only runs signed
         software from the first company. Is this a violation of GPLv3?

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https://www.gnu.org/licenses/gpl-faq.en.html#WhoHasThePower                                                                             5/37
3/26/22,Case   8:21-cv-01943-JLS-KES
        10:31 AM                          Document
                               Frequently Asked Questions24-2
                                                         about theFiled 04/22/22
                                                                   GNU Licenses        Page- Free
                                                                                - GNU Project 7 ofSoftware
                                                                                                   38 Page       ID
                                                                                                           Foundation   #:240
  What does “GPL” stand for?

         “GPL” stands for “General Public License”. The most widespread such license is the GNU General Public
         License, or GNU GPL for short. This can be further shortened to “GPL”, when it is understood that the
         GNU GPL is the one intended.

  Does free software mean using the GPL?

         Not at all—there are many other free software licenses. We have an incomplete list. Any license that
         provides the user certain specific freedoms is a free software license.

  Why should I use the GNU GPL rather than other free software licenses?

         Using the GNU GPL will require that all the released improved versions be free software. This means you
         can avoid the risk of having to compete with a proprietary modified version of your own work. However,
         in some special situations it can be better to use a more permissive license.

  Does all GNU software use the GNU GPL as its license?

         Most GNU software packages use the GNU GPL, but there are a few GNU programs (and parts of
         programs) that use looser licenses, such as the Lesser GPL. When we do this, it is a matter of strategy.

  Does using the GPL for a program make it GNU software?

         Anyone can release a program under the GNU GPL, but that does not make it a GNU package.

         Making the program a GNU software package means explicitly contributing to the GNU Project. This
         happens when the program's developers and the GNU Project agree to do it. If you are interested in
         contributing a program to the GNU Project, please write to <maintainers@gnu.org>.

  What should I do if I discover a possible violation of the GPL?

         You should report it. First, check the facts as best you can. Then tell the publisher or copyright holder of
         the specific GPL-covered program. If that is the Free Software Foundation, write to <license-
         violation@gnu.org>. Otherwise, the program's maintainer may be the copyright holder, or else could tell
         you how to contact the copyright holder, so report it to the maintainer.

  Why does the GPL permit users to publish their modified versions?

         A crucial aspect of free software is that users are free to cooperate. It is absolutely essential to permit
         users who wish to help each other to share their bug fixes and improvements with other users.

         Some have proposed alternatives to the GPL that require modified versions to go through the original
         author. As long as the original author keeps up with the need for maintenance, this may work well in
         practice, but if the author stops (more or less) to do something else or does not attend to all the users'
         needs, this scheme falls down. Aside from the practical problems, this scheme does not allow users to
         help each other.

         Sometimes control over modified versions is proposed as a means of preventing confusion between
         various versions made by users. In our experience, this confusion is not a major problem. Many versions
         of Emacs have been made outside the GNU Project, but users can tell them apart. The GPL requires the
         maker of a version to place his or her name on it, to distinguish it from other versions and to protect the
         reputations of other maintainers.

  Does the GPL require that source code of modified versions be posted to the public?

         The GPL does not require you to release your modified version, or any part of it. You are free to make
         modifications and use them privately, without ever releasing them. This applies to organizations
         (including companies), too; an organization can make a modified version and use it internally without
         ever releasing it outside the organization.



https://www.gnu.org/licenses/gpl-faq.en.html#WhoHasThePower                                                                     6/37
3/26/22,Case   8:21-cv-01943-JLS-KES
        10:31 AM                          Document
                               Frequently Asked Questions24-2
                                                         about theFiled 04/22/22
                                                                   GNU Licenses        Page- Free
                                                                                - GNU Project 8 ofSoftware
                                                                                                   38 Page       ID
                                                                                                           Foundation   #:241
         But if you release the modified version to the public in some way, the GPL requires you to make the
         modified source code available to the program's users, under the GPL.

         Thus, the GPL gives permission to release the modified program in certain ways, and not in other ways;
         but the decision of whether to release it is up to you.

  Can I have a GPL-covered program and an unrelated nonfree program on the same computer?

         Yes.

  If I know someone has a copy of a GPL-covered program, can I demand they give me a copy?

         No. The GPL gives a person permission to make and redistribute copies of the program if and when that
         person chooses to do so. That person also has the right not to choose to redistribute the program.

  What does “written offer valid for any third party” mean in GPLv2? Does that mean everyone in the world can
  get the source to any GPLed program no matter what?

         If you choose to provide source through a written offer, then anybody who requests the source from you
         is entitled to receive it.

         If you commercially distribute binaries not accompanied with source code, the GPL says you must
         provide a written offer to distribute the source code later. When users non-commercially redistribute the
         binaries they received from you, they must pass along a copy of this written offer. This means that
         people who did not get the binaries directly from you can still receive copies of the source code, along
         with the written offer.

         The reason we require the offer to be valid for any third party is so that people who receive the binaries
         indirectly in that way can order the source code from you.

  GPLv2 says that modified versions, if released, must be “licensed … to all third parties.” Who are these third
  parties?

         Section 2 says that modified versions you distribute must be licensed to all third parties under the GPL.
         “All third parties” means absolutely everyone—but this does not require you to do anything physically
         for them. It only means they have a license from you, under the GPL, for your version.

  Am I required to claim a copyright on my modifications to a GPL-covered program?

         You are not required to claim a copyright on your changes. In most countries, however, that happens
         automatically by default, so you need to place your changes explicitly in the public domain if you do not
         want them to be copyrighted.

         Whether you claim a copyright on your changes or not, either way you must release the modified
         version, as a whole, under the GPL (if you release your modified version at all).

  What does the GPL say about translating some code to a different programming language?

         Under copyright law, translation of a work is considered a kind of modification. Therefore, what the GPL
         says about modified versions applies also to translated versions. The translation is covered by the
         copyright on the original program.

         If the original program carries a free license, that license gives permission to translate it. How you can
         use and license the translated program is determined by that license. If the original program is licensed
         under certain versions of the GNU GPL, the translated program must be covered by the same versions of
         the GNU GPL.

  If a program combines public-domain code with GPL-covered code, can I take the public-domain part and use
  it as public domain code?

         You can do that, if you can figure out which part is the public domain part and separate it from the rest.
         If code was put in the public domain by its developer, it is in the public domain no matter where it has

https://www.gnu.org/licenses/gpl-faq.en.html#WhoHasThePower                                                                     7/37
3/26/22,Case   8:21-cv-01943-JLS-KES
        10:31 AM                          Document
                               Frequently Asked Questions24-2
                                                         about theFiled 04/22/22
                                                                   GNU Licenses        Page- Free
                                                                                - GNU Project 9 ofSoftware
                                                                                                   38 Page       ID
                                                                                                           Foundation   #:242
         been.

  Does the GPL allow me to sell copies of the program for money?

         Yes, the GPL allows everyone to do this. The right to sell copies is part of the definition of free software.
         Except in one special situation, there is no limit on what price you can charge. (The one exception is the
         required written offer to provide source code that must accompany binary-only release.)

  Does the GPL allow me to charge a fee for downloading the program from my distribution site?

         Yes. You can charge any fee you wish for distributing a copy of the program. Under GPLv2, if you
         distribute binaries by download, you must provide “equivalent access” to download the source—
         therefore, the fee to download source may not be greater than the fee to download the binary. If the
         binaries being distributed are licensed under the GPLv3, then you must offer equivalent access to the
         source code in the same way through the same place at no further charge.

  Does the GPL allow me to require that anyone who receives the software must pay me a fee and/or notify me?

         No. In fact, a requirement like that would make the program nonfree. If people have to pay when they
         get a copy of a program, or if they have to notify anyone in particular, then the program is not free. See
         the definition of free software.

         The GPL is a free software license, and therefore it permits people to use and even redistribute the
         software without being required to pay anyone a fee for doing so.

         You can charge people a fee to get a copy from you. You can't require people to pay you when they get a
         copy from someone else.

  If I distribute GPLed software for a fee, am I required to also make it available to the public without a charge?

         No. However, if someone pays your fee and gets a copy, the GPL gives them the freedom to release it to
         the public, with or without a fee. For example, someone could pay your fee, and then put her copy on a
         web site for the general public.

  Does the GPL allow me to distribute copies under a nondisclosure agreement?

         No. The GPL says that anyone who receives a copy from you has the right to redistribute copies,
         modified or not. You are not allowed to distribute the work on any more restrictive basis.

         If someone asks you to sign an NDA for receiving GPL-covered software copyrighted by the FSF, please
         inform us immediately by writing to license-violation@fsf.org.

         If the violation involves GPL-covered code that has some other copyright holder, please inform that
         copyright holder, just as you would for any other kind of violation of the GPL.

  Does the GPL allow me to distribute a modified or beta version under a nondisclosure agreement?

         No. The GPL says that your modified versions must carry all the freedoms stated in the GPL. Thus,
         anyone who receives a copy of your version from you has the right to redistribute copies (modified or
         not) of that version. You may not distribute any version of the work on a more restrictive basis.

  Does the GPL allow me to develop a modified version under a nondisclosure agreement?

         Yes. For instance, you can accept a contract to develop changes and agree not to release your changes
         until the client says ok. This is permitted because in this case no GPL-covered code is being distributed
         under an NDA.

         You can also release your changes to the client under the GPL, but agree not to release them to anyone
         else unless the client says ok. In this case, too, no GPL-covered code is being distributed under an NDA,
         or under any additional restrictions.



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            Case
3/26/22, 10:31 8:21-cv-01943-JLS-KES
               AM                             Document
                                Frequently Asked             24-2
                                                 Questions about      Filed
                                                                 the GNU      04/22/22
                                                                         Licenses           Page
                                                                                  - GNU Project - Free10  of 38
                                                                                                      Software     Page ID
                                                                                                               Foundation
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         The GPL would give the client the right to redistribute your version. In this scenario, the client will
         probably choose not to exercise that right, but does have the right.

  I want to get credit for my work. I want people to know what I wrote. Can I still get credit if I use the GPL?

         You can certainly get credit for the work. Part of releasing a program under the GPL is writing a
         copyright notice in your own name (assuming you are the copyright holder). The GPL requires all copies
         to carry an appropriate copyright notice.

  Does the GPL allow me to add terms that would require citation or acknowledgment in research papers which
  use the GPL-covered software or its output?

         No, this is not permitted under the terms of the GPL. While we recognize that proper citation is an
         important part of academic publications, citation cannot be added as an additional requirement to the
         GPL. Requiring citation in research papers which made use of GPLed software goes beyond what would
         be an acceptable additional requirement under section 7(b) of GPLv3, and therefore would be
         considered an additional restriction under Section 7 of the GPL. And copyright law does not allow you to
         place such a requirement on the output of software, regardless of whether it is licensed under the terms
         of the GPL or some other license.

  Why does the GPL require including a copy of the GPL with every copy of the program?

         Including a copy of the license with the work is vital so that everyone who gets a copy of the program can
         know what their rights are.

         It might be tempting to include a URL that refers to the license, instead of the license itself. But you
         cannot be sure that the URL will still be valid, five years or ten years from now. Twenty years from now,
         URLs as we know them today may no longer exist.

         The only way to make sure that people who have copies of the program will continue to be able to see the
         license, despite all the changes that will happen in the network, is to include a copy of the license in the
         program.

  Is it enough just to put a copy of the GNU GPL in my repository?

         Just putting a copy of the GNU GPL in a file in your repository does not explicitly state that the code in
         the same repository may be used under the GNU GPL. Without such a statement, it's not entirely clear
         that the permissions in the license really apply to any particular source file. An explicit statement saying
         that eliminates all doubt.

         A file containing just a license, without a statement that certain other files are covered by that license,
         resembles a file containing just a subroutine which is never called from anywhere else. The resemblance
         is not perfect: lawyers and courts might apply common sense and conclude that you must have put the
         copy of the GNU GPL there because you wanted to license the code that way. Or they might not. Why
         leave an uncertainty?

         This statement should be in each source file. A clear statement in the program's README file is legally
         sufficient as long as that accompanies the code, but it is easy for them to get separated. Why take a risk
         of uncertainty about your code's license?

         This has nothing to do with the specifics of the GNU GPL. It is true for any free license.

  Why should I put a license notice in each source file?

         You should put a notice at the start of each source file, stating what license it carries, in order to avoid
         risk of the code's getting disconnected from its license. If your repository's README says that source file
         is under the GNU GPL, what happens if someone copies that file to another program? That other context
         may not show what the file's license is. It may appear to have some other license, or no license at all
         (which would make the code nonfree).

         Adding a copyright notice and a license notice at the start of each source file is easy and makes such
         confusion unlikely.
https://www.gnu.org/licenses/gpl-faq.en.html#WhoHasThePower                                                                  9/37
            Case
3/26/22, 10:31  8:21-cv-01943-JLS-KES
               AM                              Document
                                 Frequently Asked             24-2
                                                  Questions about      Filed
                                                                  the GNU      04/22/22
                                                                          Licenses           Page
                                                                                   - GNU Project - Free11  of 38
                                                                                                       Software     Page ID
                                                                                                                Foundation
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         This has nothing to do with the specifics of the GNU GPL. It is true for any free license.

  What if the work is not very long?

         If a whole software package contains very little code—less than 300 lines is the benchmark we use—you
         may as well use a lax permissive license for it, rather than a copyleft license like the GNU GPL. (Unless,
         that is, the code is specially important.) We recommend the Apache License 2.0 for such cases.

  Can I omit the preamble of the GPL, or the instructions for how to use it on your own programs, to save space?

         The preamble and instructions are integral parts of the GNU GPL and may not be omitted. In fact, the
         GPL is copyrighted, and its license permits only verbatim copying of the entire GPL. (You can use the
         legal terms to make another license but it won't be the GNU GPL.)

         The preamble and instructions add up to some 1000 words, less than 1/5 of the GPL's total size. They
         will not make a substantial fractional change in the size of a software package unless the package itself is
         quite small. In that case, you may as well use a simple all-permissive license rather than the GNU GPL.

  What does it mean to say that two licenses are “compatible”?

         In order to combine two programs (or substantial parts of them) into a larger work, you need to have
         permission to use both programs in this way. If the two programs' licenses permit this, they are
         compatible. If there is no way to satisfy both licenses at once, they are incompatible.

         For some licenses, the way in which the combination is made may affect whether they are compatible—
         for instance, they may allow linking two modules together, but not allow merging their code into one
         module.

         If you just want to install two separate programs in the same system, it is not necessary that their
         licenses be compatible, because this does not combine them into a larger work.

  What does it mean to say a license is “compatible with the GPL?”

         It means that the other license and the GNU GPL are compatible; you can combine code released under
         the other license with code released under the GNU GPL in one larger program.

         All GNU GPL versions permit such combinations privately; they also permit distribution of such
         combinations provided the combination is released under the same GNU GPL version. The other license
         is compatible with the GPL if it permits this too.

         GPLv3 is compatible with more licenses than GPLv2: it allows you to make combinations with code that
         has specific kinds of additional requirements that are not in GPLv3 itself. Section 7 has more
         information about this, including the list of additional requirements that are permitted.

  Can I write free software that uses nonfree libraries?

         If you do this, your program won't be fully usable in a free environment. If your program depends on a
         nonfree library to do a certain job, it cannot do that job in the Free World. If it depends on a nonfree
         library to run at all, it cannot be part of a free operating system such as GNU; it is entirely off limits to
         the Free World.

         So please consider: can you find a way to get the job done without using this library? Can you write a free
         replacement for that library?

         If the program is already written using the nonfree library, perhaps it is too late to change the decision.
         You may as well release the program as it stands, rather than not release it. But please mention in the
         README that the need for the nonfree library is a drawback, and suggest the task of changing the
         program so that it does the same job without the nonfree library. Please suggest that anyone who thinks
         of doing substantial further work on the program first free it from dependence on the nonfree library.

         Note that there may also be legal issues with combining certain nonfree libraries with GPL-covered free
         software. Please see the question on GPL software with GPL-incompatible libraries for more

https://www.gnu.org/licenses/gpl-faq.en.html#WhoHasThePower                                                                   10/37
            Case
3/26/22, 10:31 8:21-cv-01943-JLS-KES
               AM                           Document
                              Frequently Asked             24-2
                                               Questions about      Filed
                                                               the GNU      04/22/22
                                                                       Licenses           Page
                                                                                - GNU Project - Free12  of 38
                                                                                                    Software     Page ID
                                                                                                             Foundation

         information.                                     #:245

  Can I link a GPL program with a proprietary system library?

         Both versions of the GPL have an exception to their copyleft, commonly called the system library
         exception. If the GPL-incompatible libraries you want to use meet the criteria for a system library, then
         you don't have to do anything special to use them; the requirement to distribute source code for the
         whole program does not include those libraries, even if you distribute a linked executable containing
         them.

         The criteria for what counts as a “system library” vary between different versions of the GPL. GPLv3
         explicitly defines “System Libraries” in section 1, to exclude it from the definition of “Corresponding
         Source.” GPLv2 deals with this issue slightly differently, near the end of section 3.

  What legal issues come up if I use GPL-incompatible libraries with GPL software?

         If you want your program to link against a library not covered by the system library exception, you need
         to provide permission to do that. Below are two example license notices that you can use to do that; one
         for GPLv3, and the other for GPLv2. In either case, you should put this text in each file to which you are
         granting this permission.

         Only the copyright holders for the program can legally release their software under these terms. If you
         wrote the whole program yourself, then assuming your employer or school does not claim the copyright,
         you are the copyright holder—so you can authorize the exception. But if you want to use parts of other
         GPL-covered programs by other authors in your code, you cannot authorize the exception for them. You
         have to get the approval of the copyright holders of those programs.

         When other people modify the program, they do not have to make the same exception for their code—it
         is their choice whether to do so.

         If the libraries you intend to link with are nonfree, please also see the section on writing Free Software
         which uses nonfree libraries.

         If you're using GPLv3, you can accomplish this goal by granting an additional permission under section
         7. The following license notice will do that. You must replace all the text in brackets with text that is
         appropriate for your program. If not everybody can distribute source for the libraries you intend to link
         with, you should remove the text in braces; otherwise, just remove the braces themselves.

                 Copyright (C) [years] [name of copyright holder]

                 This program is free software; you can redistribute it and/or modify it under the terms of
                 the GNU General Public License as published by the Free Software Foundation; either
                 version 3 of the License, or (at your option) any later version.

                 This program is distributed in the hope that it will be useful, but WITHOUT ANY
                 WARRANTY; without even the implied warranty of MERCHANTABILITY or FITNESS FOR
                 A PARTICULAR PURPOSE. See the GNU General Public License for more details.

                 You should have received a copy of the GNU General Public License along with this
                 program; if not, see <https://www.gnu.org/licenses>.

                 Additional permission under GNU GPL version 3 section 7

                 If you modify this Program, or any covered work, by linking or combining it with [name of
                 library] (or a modified version of that library), containing parts covered by the terms of
                 [name of library's license], the licensors of this Program grant you additional permission to
                 convey the resulting work. {Corresponding Source for a non-source form of such a
                 combination shall include the source code for the parts of [name of library] used as well as
                 that of the covered work.}

         If you're using GPLv2, you can provide your own exception to the license's terms. The following license
         notice will do that. Again, you must replace all the text in brackets with text that is appropriate for your
https://www.gnu.org/licenses/gpl-faq.en.html#WhoHasThePower                                                                11/37
            Case
3/26/22, 10:31 8:21-cv-01943-JLS-KES
               AM                             Document
                                Frequently Asked             24-2
                                                 Questions about      Filed
                                                                 the GNU      04/22/22
                                                                         Licenses           Page
                                                                                  - GNU Project - Free13  of 38
                                                                                                      Software     Page ID
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         program. If not everybody can distribute source for the libraries you intend to link with, you should
         remove the text in braces; otherwise, just remove the braces themselves.

                 Copyright (C) [years] [name of copyright holder]

                 This program is free software; you can redistribute it and/or modify it under the terms of
                 the GNU General Public License as published by the Free Software Foundation; either
                 version 2 of the License, or (at your option) any later version.

                 This program is distributed in the hope that it will be useful, but WITHOUT ANY
                 WARRANTY; without even the implied warranty of MERCHANTABILITY or FITNESS FOR
                 A PARTICULAR PURPOSE. See the GNU General Public License for more details.

                 You should have received a copy of the GNU General Public License along with this
                 program; if not, see <https://www.gnu.org/licenses>.

                 Linking [name of your program] statically or dynamically with other modules is making a
                 combined work based on [name of your program]. Thus, the terms and conditions of the
                 GNU General Public License cover the whole combination.

                 In addition, as a special exception, the copyright holders of [name of your program] give
                 you permission to combine [name of your program] with free software programs or
                 libraries that are released under the GNU LGPL and with code included in the standard
                 release of [name of library] under the [name of library's license] (or modified versions of
                 such code, with unchanged license). You may copy and distribute such a system following
                 the terms of the GNU GPL for [name of your program] and the licenses of the other code
                 concerned{, provided that you include the source code of that other code when and as the
                 GNU GPL requires distribution of source code}.

                 Note that people who make modified versions of [name of your program] are not obligated
                 to grant this special exception for their modified versions; it is their choice whether to do so.
                 The GNU General Public License gives permission to release a modified version without this
                 exception; this exception also makes it possible to release a modified version which carries
                 forward this exception.

  How do I get a copyright on my program in order to release it under the GPL?

         Under the Berne Convention, everything written is automatically copyrighted from whenever it is put in
         fixed form. So you don't have to do anything to “get” the copyright on what you write—as long as nobody
         else can claim to own your work.

         However, registering the copyright in the US is a very good idea. It will give you more clout in dealing
         with an infringer in the US.

         The case when someone else might possibly claim the copyright is if you are an employee or student;
         then the employer or the school might claim you did the job for them and that the copyright belongs to
         them. Whether they would have a valid claim would depend on circumstances such as the laws of the
         place where you live, and on your employment contract and what sort of work you do. It is best to
         consult a lawyer if there is any possible doubt.

         If you think that the employer or school might have a claim, you can resolve the problem clearly by
         getting a copyright disclaimer signed by a suitably authorized officer of the company or school. (Your
         immediate boss or a professor is usually NOT authorized to sign such a disclaimer.)

  What if my school might want to make my program into its own proprietary software product?

         Many universities nowadays try to raise funds by restricting the use of the knowledge and information
         they develop, in effect behaving little different from commercial businesses. (See “The Kept University”,
         Atlantic Monthly, March 2000, for a general discussion of this problem and its effects.)

         If you see any chance that your school might refuse to allow your program to be released as free
         software, it is best to raise the issue at the earliest possible stage. The closer the program is to working
https://www.gnu.org/licenses/gpl-faq.en.html#WhoHasThePower                                                                  12/37
            Case
3/26/22, 10:31  8:21-cv-01943-JLS-KES
               AM                              Document
                                 Frequently Asked             24-2
                                                  Questions about      Filed
                                                                  the GNU      04/22/22
                                                                          Licenses           Page
                                                                                   - GNU Project - Free14  of 38
                                                                                                       Software     Page ID
                                                                                                                Foundation
                                                             #:247
         usefully, the more temptation the administration might feel to take it from you and finish it without you.
         At an earlier stage, you have more leverage.

         So we recommend that you approach them when the program is only half-done, saying, “If you will agree
         to releasing this as free software, I will finish it.” Don't think of this as a bluff. To prevail, you must have
         the courage to say, “My program will have liberty, or never be born.”

  Could you give me step by step instructions on how to apply the GPL to my program?

         See the page of GPL instructions.

  I heard that someone got a copy of a GPLed program under another license. Is this possible?

         The GNU GPL does not give users permission to attach other licenses to the program. But the copyright
         holder for a program can release it under several different licenses in parallel. One of them may be the
         GNU GPL.

         The license that comes in your copy, assuming it was put in by the copyright holder and that you got the
         copy legitimately, is the license that applies to your copy.

  I would like to release a program I wrote under the GNU GPL, but I would like to use the same code in nonfree
  programs.

         To release a nonfree program is always ethically tainted, but legally there is no obstacle to your doing
         this. If you are the copyright holder for the code, you can release it under various different non-exclusive
         licenses at various times.

  Is the developer of a GPL-covered program bound by the GPL? Could the developer's actions ever be a
  violation of the GPL?

         Strictly speaking, the GPL is a license from the developer for others to use, distribute and change the
         program. The developer itself is not bound by it, so no matter what the developer does, this is not a
         “violation” of the GPL.

         However, if the developer does something that would violate the GPL if done by someone else, the
         developer will surely lose moral standing in the community.

  Can the developer of a program who distributed it under the GPL later license it to another party for exclusive
  use?

         No, because the public already has the right to use the program under the GPL, and this right cannot be
         withdrawn.

  Can I use GPL-covered editors such as GNU Emacs to develop nonfree programs? Can I use GPL-covered tools
  such as GCC to compile them?

         Yes, because the copyright on the editors and tools does not cover the code you write. Using them does
         not place any restrictions, legally, on the license you use for your code.

         Some programs copy parts of themselves into the output for technical reasons—for example, Bison
         copies a standard parser program into its output file. In such cases, the copied text in the output is
         covered by the same license that covers it in the source code. Meanwhile, the part of the output which is
         derived from the program's input inherits the copyright status of the input.

         As it happens, Bison can also be used to develop nonfree programs. This is because we decided to
         explicitly permit the use of the Bison standard parser program in Bison output files without restriction.
         We made the decision because there were other tools comparable to Bison which already permitted use
         for nonfree programs.

  Do I have “fair use” rights in using the source code of a GPL-covered program?



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            Case
3/26/22, 10:31  8:21-cv-01943-JLS-KES
               AM                                Document
                                   Frequently Asked             24-2
                                                    Questions about      Filed
                                                                    the GNU      04/22/22
                                                                            Licenses           Page
                                                                                     - GNU Project - Free15  of 38
                                                                                                         Software     Page ID
                                                                                                                  Foundation
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         Yes, you do. “Fair use” is use that is allowed without any special permission. Since you don't need the
         developers' permission for such use, you can do it regardless of what the developers said about it—in the
         license or elsewhere, whether that license be the GNU GPL or any other free software license.

         Note, however, that there is no world-wide principle of fair use; what kinds of use are considered “fair”
         varies from country to country.

  Can the US Government release a program under the GNU GPL?

         If the program is written by US federal government employees in the course of their employment, it is in
         the public domain, which means it is not copyrighted. Since the GNU GPL is based on copyright, such a
         program cannot be released under the GNU GPL. (It can still be free software, however; a public domain
         program is free.)

         However, when a US federal government agency uses contractors to develop software, that is a different
         situation. The contract can require the contractor to release it under the GNU GPL. (GNU Ada was
         developed in this way.) Or the contract can assign the copyright to the government agency, which can
         then release the software under the GNU GPL.

  Can the US Government release improvements to a GPL-covered program?

         Yes. If the improvements are written by US government employees in the course of their employment,
         then the improvements are in the public domain. However, the improved version, as a whole, is still
         covered by the GNU GPL. There is no problem in this situation.

         If the US government uses contractors to do the job, then the improvements themselves can be GPL-
         covered.

  Does the GPL have different requirements for statically vs dynamically linked modules with a covered work?

         No. Linking a GPL covered work statically or dynamically with other modules is making a combined
         work based on the GPL covered work. Thus, the terms and conditions of the GNU General Public
         License cover the whole combination. See also What legal issues come up if I use GPL-incompatible
         libraries with GPL software?

  Does the LGPL have different requirements for statically vs dynamically linked modules with a covered work?

         For the purpose of complying with the LGPL (any extant version: v2, v2.1 or v3):

                 (1) If you statically link against an LGPLed library, you must also provide your application in
                 an object (not necessarily source) format, so that a user has the opportunity to modify the
                 library and relink the application.

                 (2) If you dynamically link against an LGPLed library already present on the user's
                 computer, you need not convey the library's source. On the other hand, if you yourself
                 convey the executable LGPLed library along with your application, whether linked with
                 statically or dynamically, you must also convey the library's sources, in one of the ways for
                 which the LGPL provides.

  Is there some way that I can GPL the output people get from use of my program? For example, if my program
  is used to develop hardware designs, can I require that these designs must be free?

         In general this is legally impossible; copyright law does not give you any say in the use of the output
         people make from their data using your program. If the user uses your program to enter or convert her
         own data, the copyright on the output belongs to her, not you. More generally, when a program
         translates its input into some other form, the copyright status of the output inherits that of the input it
         was generated from.

         So the only way you have a say in the use of the output is if substantial parts of the output are copied
         (more or less) from text in your program. For instance, part of the output of Bison (see above) would be
         covered by the GNU GPL, if we had not made an exception in this specific case.

https://www.gnu.org/licenses/gpl-faq.en.html#WhoHasThePower                                                                     14/37
            Case
3/26/22, 10:31 8:21-cv-01943-JLS-KES
               AM                               Document
                                  Frequently Asked             24-2
                                                   Questions about      Filed
                                                                   the GNU      04/22/22
                                                                           Licenses           Page
                                                                                    - GNU Project - Free16  of 38
                                                                                                        Software     Page ID
                                                                                                                 Foundation
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         You could artificially make a program copy certain text into its output even if there is no technical reason
         to do so. But if that copied text serves no practical purpose, the user could simply delete that text from
         the output and use only the rest. Then he would not have to obey the conditions on redistribution of the
         copied text.

  In what cases is the output of a GPL program covered by the GPL too?

         The output of a program is not, in general, covered by the copyright on the code of the program. So the
         license of the code of the program does not apply to the output, whether you pipe it into a file, make a
         screenshot, screencast, or video.

         The exception would be when the program displays a full screen of text and/or art that comes from the
         program. Then the copyright on that text and/or art covers the output. Programs that output audio, such
         as video games, would also fit into this exception.

         If the art/music is under the GPL, then the GPL applies when you copy it no matter how you copy it.
         However, fair use may still apply.

         Keep in mind that some programs, particularly video games, can have artwork/audio that is licensed
         separately from the underlying GPLed game. In such cases, the license on the artwork/audio would
         dictate the terms under which video/streaming may occur. See also: Can I use the GPL for something
         other than software?

  If I add a module to a GPL-covered program, do I have to use the GPL as the license for my module?

         The GPL says that the whole combined program has to be released under the GPL. So your module has
         to be available for use under the GPL.

         But you can give additional permission for the use of your code. You can, if you wish, release your
         module under a license which is more lax than the GPL but compatible with the GPL. The license list
         page gives a partial list of GPL-compatible licenses.

  If a library is released under the GPL (not the LGPL), does that mean that any software which uses it has to be
  under the GPL or a GPL-compatible license?

         Yes, because the program actually links to the library. As such, the terms of the GPL apply to the entire
         combination. The software modules that link with the library may be under various GPL compatible
         licenses, but the work as a whole must be licensed under the GPL. See also: What does it mean to say a
         license is “compatible with the GPL”?

  If a programming language interpreter is released under the GPL, does that mean programs written to be
  interpreted by it must be under GPL-compatible licenses?

         When the interpreter just interprets a language, the answer is no. The interpreted program, to the
         interpreter, is just data; a free software license like the GPL, based on copyright law, cannot limit what
         data you use the interpreter on. You can run it on any data (interpreted program), any way you like, and
         there are no requirements about licensing that data to anyone.

         However, when the interpreter is extended to provide “bindings” to other facilities (often, but not
         necessarily, libraries), the interpreted program is effectively linked to the facilities it uses through these
         bindings. So if these facilities are released under the GPL, the interpreted program that uses them must
         be released in a GPL-compatible way. The JNI or Java Native Interface is an example of such a binding
         mechanism; libraries that are accessed in this way are linked dynamically with the Java programs that
         call them. These libraries are also linked with the interpreter. If the interpreter is linked statically with
         these libraries, or if it is designed to link dynamically with these specific libraries, then it too needs to be
         released in a GPL-compatible way.

         Another similar and very common case is to provide libraries with the interpreter which are themselves
         interpreted. For instance, Perl comes with many Perl modules, and a Java implementation comes with
         many Java classes. These libraries and the programs that call them are always dynamically linked
         together.

https://www.gnu.org/licenses/gpl-faq.en.html#WhoHasThePower                                                               15/37
            Case
3/26/22, 10:31 8:21-cv-01943-JLS-KES
               AM                               Document
                                  Frequently Asked             24-2
                                                   Questions about      Filed
                                                                   the GNU      04/22/22
                                                                           Licenses           Page
                                                                                    - GNU Project - Free17  of 38
                                                                                                        Software     Page ID
                                                                                                                 Foundation
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         A consequence is that if you choose to use GPLed Perl modules or Java classes in your program, you
         must release the program in a GPL-compatible way, regardless of the license used in the Perl or Java
         interpreter that the combined Perl or Java program will run on.

  I'm writing a Windows application with Microsoft Visual C++ (or Visual Basic) and I will be releasing it under
  the GPL. Is dynamically linking my program with the Visual C++ (or Visual Basic) runtime library permitted
  under the GPL?

         You may link your program to these libraries, and distribute the compiled program to others. When you
         do this, the runtime libraries are “System Libraries” as GPLv3 defines them. That means that you don't
         need to worry about including their source code with the program's Corresponding Source. GPLv2
         provides a similar exception in section 3.

         You may not distribute these libraries in compiled DLL form with the program. To prevent unscrupulous
         distributors from trying to use the System Library exception as a loophole, the GPL says that libraries
         can only qualify as System Libraries as long as they're not distributed with the program itself. If you
         distribute the DLLs with the program, they won't be eligible for this exception anymore; then the only
         way to comply with the GPL would be to provide their source code, which you are unable to do.

         It is possible to write free programs that only run on Windows, but it is not a good idea. These programs
         would be “trapped” by Windows, and therefore contribute zero to the Free World.

  Why is the original BSD license incompatible with the GPL?

         Because it imposes a specific requirement that is not in the GPL; namely, the requirement on
         advertisements of the program. Section 6 of GPLv2 states:

                 You may not impose any further restrictions on the recipients' exercise of the rights granted
                 herein.

         GPLv3 says something similar in section 10. The advertising clause provides just such a further
         restriction, and thus is GPL-incompatible.

         The revised BSD license does not have the advertising clause, which eliminates the problem.

  When is a program and its plug-ins considered a single combined program?

         It depends on how the main program invokes its plug-ins. If the main program uses fork and exec to
         invoke plug-ins, and they establish intimate communication by sharing complex data structures, or
         shipping complex data structures back and forth, that can make them one single combined program. A
         main program that uses simple fork and exec to invoke plug-ins and does not establish intimate
         communication between them results in the plug-ins being a separate program.

         If the main program dynamically links plug-ins, and they make function calls to each other and share
         data structures, we believe they form a single combined program, which must be treated as an extension
         of both the main program and the plug-ins. If the main program dynamically links plug-ins, but the
         communication between them is limited to invoking the ‘main’ function of the plug-in with some options
         and waiting for it to return, that is a borderline case.

         Using shared memory to communicate with complex data structures is pretty much equivalent to
         dynamic linking.

  If I write a plug-in to use with a GPL-covered program, what requirements does that impose on the licenses I
  can use for distributing my plug-in?

         Please see this question for determining when plug-ins and a main program are considered a single
         combined program and when they are considered separate works.

         If the main program and the plugins are a single combined program then this means you must license
         the plug-in under the GPL or a GPL-compatible free software license and distribute it with source code
         in a GPL-compliant way. A main program that is separate from its plug-ins makes no requirements for
         the plug-ins.
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            Case
3/26/22, 10:31 8:21-cv-01943-JLS-KES
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                                                                the GNU      04/22/22
                                                                        Licenses           Page
                                                                                 - GNU Project - Free18  of 38
                                                                                                     Software     Page ID
                                                                                                              Foundation
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  Can I apply the GPL when writing a plug-in for a nonfree program?

         Please see this question for determining when plug-ins and a main program are considered a single
         combined program and when they are considered separate programs.

         If they form a single combined program this means that combination of the GPL-covered plug-in with
         the nonfree main program would violate the GPL. However, you can resolve that legal problem by
         adding an exception to your plug-in's license, giving permission to link it with the nonfree main
         program.

         See also the question I am writing free software that uses a nonfree library.

  Can I release a nonfree program that's designed to load a GPL-covered plug-in?

         Please see this question for determining when plug-ins and a main program are considered a single
         combined program and when they are considered separate programs.

         If they form a single combined program then the main program must be released under the GPL or a
         GPL-compatible free software license, and the terms of the GPL must be followed when the main
         program is distributed for use with these plug-ins.

         However, if they are separate works then the license of the plug-in makes no requirements about the
         main program.

         See also the question I am writing free software that uses a nonfree library.

  You have a GPLed program that I'd like to link with my code to build a proprietary program. Does the fact that
  I link with your program mean I have to GPL my program?

         Not exactly. It means you must release your program under a license compatible with the GPL (more
         precisely, compatible with one or more GPL versions accepted by all the rest of the code in the
         combination that you link). The combination itself is then available under those GPL versions.

  If so, is there any chance I could get a license of your program under the Lesser GPL?

         You can ask, but most authors will stand firm and say no. The idea of the GPL is that if you want to
         include our code in your program, your program must also be free software. It is supposed to put
         pressure on you to release your program in a way that makes it part of our community.

         You always have the legal alternative of not using our code.

  Does distributing a nonfree driver meant to link with the kernel Linux violate the GPL?

         Linux (the kernel in the GNU/Linux operating system) is distributed under GNU GPL version 2. Does
         distributing a nonfree driver meant to link with Linux violate the GPL?

         Yes, this is a violation, because effectively this makes a larger combined work. The fact that the user is
         expected to put the pieces together does not really change anything.

         Each contributor to Linux who holds copyright on a substantial part of the code can enforce the GPL and
         we encourage each of them to take action against those distributing nonfree Linux-drivers.

  How can I allow linking of proprietary modules with my GPL-covered library under a controlled interface
  only?

         Add this text to the license notice of each file in the package, at the end of the text that says the file is
         distributed under the GNU GPL:

                 Linking ABC statically or dynamically with other modules is making a combined work based
                 on ABC. Thus, the terms and conditions of the GNU General Public License cover the whole
                 combination.


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3/26/22, 10:31 AM 8:21-cv-01943-JLS-KES          Document
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                                                    Questions about      Filed
                                                                    the GNU      04/22/22
                                                                            Licenses           Page
                                                                                     - GNU Project - Free19  of 38
                                                                                                         Software     Page ID
                                                                                                                  Foundation
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                 As a special exception, the copyright holders of ABC give you permission to combine ABC
                 program with free software programs or libraries that are released under the GNU LGPL
                 and with independent modules that communicate with ABC solely through the ABCDEF
                 interface. You may copy and distribute such a system following the terms of the GNU GPL
                 for ABC and the licenses of the other code concerned, provided that you include the source
                 code of that other code when and as the GNU GPL requires distribution of source code and
                 provided that you do not modify the ABCDEF interface.

                 Note that people who make modified versions of ABC are not obligated to grant this special
                 exception for their modified versions; it is their choice whether to do so. The GNU General
                 Public License gives permission to release a modified version without this exception; this
                 exception also makes it possible to release a modified version which carries forward this
                 exception. If you modify the ABCDEF interface, this exception does not apply to your
                 modified version of ABC, and you must remove this exception when you distribute your
                 modified version.

                 This exception is an additional permission under section 7 of the GNU General Public
                 License, version 3 (“GPLv3”)

         This exception enables linking with differently licensed modules over the specified interface
         (“ABCDEF”), while ensuring that users would still receive source code as they normally would under the
         GPL.

         Only the copyright holders for the program can legally authorize this exception. If you wrote the whole
         program yourself, then assuming your employer or school does not claim the copyright, you are the
         copyright holder—so you can authorize the exception. But if you want to use parts of other GPL-covered
         programs by other authors in your code, you cannot authorize the exception for them. You have to get
         the approval of the copyright holders of those programs.

  I have written an application that links with many different components, that have different licenses. I am very
  confused as to what licensing requirements are placed on my program. Can you please tell me what licenses I
  may use?

         To answer this question, we would need to see a list of each component that your program uses, the
         license of that component, and a brief (a few sentences for each should suffice) describing how your
         library uses that component. Two examples would be:

                 To make my software work, it must be linked to the FOO library, which is available under the
                 Lesser GPL.
                 My software makes a system call (with a command line that I built) to run the BAR program,
                 which is licensed under “the GPL, with a special exception allowing for linking with QUUX”.

  What is the difference between an “aggregate” and other kinds of “modified versions”?

         An “aggregate” consists of a number of separate programs, distributed together on the same CD-ROM or
         other media. The GPL permits you to create and distribute an aggregate, even when the licenses of the
         other software are nonfree or GPL-incompatible. The only condition is that you cannot release the
         aggregate under a license that prohibits users from exercising rights that each program's individual
         license would grant them.

         Where's the line between two separate programs, and one program with two parts? This is a legal
         question, which ultimately judges will decide. We believe that a proper criterion depends both on the
         mechanism of communication (exec, pipes, rpc, function calls within a shared address space, etc.) and
         the semantics of the communication (what kinds of information are interchanged).

         If the modules are included in the same executable file, they are definitely combined in one program. If
         modules are designed to run linked together in a shared address space, that almost surely means
         combining them into one program.

         By contrast, pipes, sockets and command-line arguments are communication mechanisms normally
         used between two separate programs. So when they are used for communication, the modules normally
         are separate programs. But if the semantics of the communication are intimate enough, exchanging
https://www.gnu.org/licenses/gpl-faq.en.html#WhoHasThePower                                                                     18/37
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3/26/22, 10:31 8:21-cv-01943-JLS-KES
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                                 Frequently Asked             24-2
                                                  Questions about      Filed
                                                                  the GNU      04/22/22
                                                                          Licenses           Page
                                                                                   - GNU Project - Free20  of 38
                                                                                                       Software     Page ID
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         complex internal data structures, that too could be a basis to consider the two parts as combined into a
         larger program.

  When it comes to determining whether two pieces of software form a single work, does the fact that the code is
  in one or more containers have any effect?

         No, the analysis of whether they are a single work or an aggregate is unchanged by the involvement of
         containers.

  Why does the FSF require that contributors to FSF-copyrighted programs assign copyright to the FSF? If I
  hold copyright on a GPLed program, should I do this, too? If so, how?

         Our lawyers have told us that to be in the best position to enforce the GPL in court against violators, we
         should keep the copyright status of the program as simple as possible. We do this by asking each
         contributor to either assign the copyright on contributions to the FSF, or disclaim copyright on
         contributions.

         We also ask individual contributors to get copyright disclaimers from their employers (if any) so that we
         can be sure those employers won't claim to own the contributions.

         Of course, if all the contributors put their code in the public domain, there is no copyright with which to
         enforce the GPL. So we encourage people to assign copyright on large code contributions, and only put
         small changes in the public domain.

         If you want to make an effort to enforce the GPL on your program, it is probably a good idea for you to
         follow a similar policy. Please contact <licensing@gnu.org> if you want more information.

  Can I modify the GPL and make a modified license?

         It is possible to make modified versions of the GPL, but it tends to have practical consequences.

         You can legally use the GPL terms (possibly modified) in another license provided that you call your
         license by another name and do not include the GPL preamble, and provided you modify the
         instructions-for-use at the end enough to make it clearly different in wording and not mention GNU
         (though the actual procedure you describe may be similar).

         If you want to use our preamble in a modified license, please write to <licensing@gnu.org> for
         permission. For this purpose we would want to check the actual license requirements to see if we
         approve of them.

         Although we will not raise legal objections to your making a modified license in this way, we hope you
         will think twice and not do it. Such a modified license is almost certainly incompatible with the GNU
         GPL, and that incompatibility blocks useful combinations of modules. The mere proliferation of
         different free software licenses is a burden in and of itself.

         Rather than modifying the GPL, please use the exception mechanism offered by GPL version 3.

  If I use a piece of software that has been obtained under the GNU GPL, am I allowed to modify the original
  code into a new program, then distribute and sell that new program commercially?

         You are allowed to sell copies of the modified program commercially, but only under the terms of the
         GNU GPL. Thus, for instance, you must make the source code available to the users of the program as
         described in the GPL, and they must be allowed to redistribute and modify it as described in the GPL.

         These requirements are the condition for including the GPL-covered code you received in a program of
         your own.

  Can I use the GPL for something other than software?

         You can apply the GPL to any kind of work, as long as it is clear what constitutes the “source code” for
         the work. The GPL defines this as the preferred form of the work for making changes in it.


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3/26/22, 10:318:21-cv-01943-JLS-KES
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                               Frequently Asked             24-2
                                                Questions about      Filed
                                                                the GNU      04/22/22
                                                                        Licenses           Page
                                                                                 - GNU Project - Free21  of 38
                                                                                                     Software     Page ID
                                                                                                              Foundation
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         However, for manuals and textbooks, or more generally any sort of work that is meant to teach a subject,
         we recommend using the GFDL rather than the GPL.

  How does the LGPL work with Java?

         See this article for details. It works as designed, intended, and expected.

  Consider this situation: 1) X releases V1 of a project under the GPL. 2) Y contributes to the development of V2
  with changes and new code based on V1. 3) X wants to convert V2 to a non-GPL license. Does X need Y's
  permission?

         Yes. Y was required to release its version under the GNU GPL, as a consequence of basing it on X's
         version V1. Nothing required Y to agree to any other license for its code. Therefore, X must get Y's
         permission before releasing that code under another license.

  I'd like to incorporate GPL-covered software in my proprietary system. I have no permission to use that
  software except what the GPL gives me. Can I do this?

         You cannot incorporate GPL-covered software in a proprietary system. The goal of the GPL is to grant
         everyone the freedom to copy, redistribute, understand, and modify a program. If you could incorporate
         GPL-covered software into a nonfree system, it would have the effect of making the GPL-covered
         software nonfree too.

         A system incorporating a GPL-covered program is an extended version of that program. The GPL says
         that any extended version of the program must be released under the GPL if it is released at all. This is
         for two reasons: to make sure that users who get the software get the freedom they should have, and to
         encourage people to give back improvements that they make.

         However, in many cases you can distribute the GPL-covered software alongside your proprietary system.
         To do this validly, you must make sure that the free and nonfree programs communicate at arms length,
         that they are not combined in a way that would make them effectively a single program.

         The difference between this and “incorporating” the GPL-covered software is partly a matter of
         substance and partly form. The substantive part is this: if the two programs are combined so that they
         become effectively two parts of one program, then you can't treat them as two separate programs. So the
         GPL has to cover the whole thing.

         If the two programs remain well separated, like the compiler and the kernel, or like an editor and a shell,
         then you can treat them as two separate programs—but you have to do it properly. The issue is simply
         one of form: how you describe what you are doing. Why do we care about this? Because we want to make
         sure the users clearly understand the free status of the GPL-covered software in the collection.

         If people were to distribute GPL-covered software calling it “part of” a system that users know is partly
         proprietary, users might be uncertain of their rights regarding the GPL-covered software. But if they
         know that what they have received is a free program plus another program, side by side, their rights will
         be clear.

  I'd like to incorporate GPL-covered software in my proprietary system. Can I do this by putting a “wrapper”
  module, under a GPL-compatible lax permissive license (such as the X11 license) in between the GPL-covered
  part and the proprietary part?

         No. The X11 license is compatible with the GPL, so you can add a module to the GPL-covered program
         and put it under the X11 license. But if you were to incorporate them both in a larger program, that
         whole would include the GPL-covered part, so it would have to be licensed as a whole under the GNU
         GPL.

         The fact that proprietary module A communicates with GPL-covered module C only through X11-
         licensed module B is legally irrelevant; what matters is the fact that module C is included in the whole.

  Where can I learn more about the GCC Runtime Library Exception?


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               AM                           Document
                              Frequently Asked             24-2
                                               Questions about      Filed
                                                               the GNU      04/22/22
                                                                       Licenses           Page
                                                                                - GNU Project - Free22  of 38
                                                                                                    Software     Page ID
                                                                                                             Foundation
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         The GCC Runtime Library Exception covers libgcc, libstdc++, libfortran, libgomp, libdecnumber, and
         other libraries distributed with GCC. The exception is meant to allow people to distribute programs
         compiled with GCC under terms of their choice, even when parts of these libraries are included in the
         executable as part of the compilation process. To learn more, please read our FAQ about the GCC
         Runtime Library Exception.

  I'd like to modify GPL-covered programs and link them with the portability libraries from Money Guzzler Inc. I
  cannot distribute the source code for these libraries, so any user who wanted to change these versions would
  have to obtain those libraries separately. Why doesn't the GPL permit this?

         There are two reasons for this. First, a general one. If we permitted company A to make a proprietary
         file, and company B to distribute GPL-covered software linked with that file, the effect would be to make
         a hole in the GPL big enough to drive a truck through. This would be carte blanche for withholding the
         source code for all sorts of modifications and extensions to GPL-covered software.

         Giving all users access to the source code is one of our main goals, so this consequence is definitely
         something we want to avoid.

         More concretely, the versions of the programs linked with the Money Guzzler libraries would not really
         be free software as we understand the term—they would not come with full source code that enables
         users to change and recompile the program.

  If the license for a module Q has a requirement that's incompatible with the GPL, but the requirement applies
  only when Q is distributed by itself, not when Q is included in a larger program, does that make the license
  GPL-compatible? Can I combine or link Q with a GPL-covered program?

         If a program P is released under the GPL that means *any and every part of it* can be used under the
         GPL. If you integrate module Q, and release the combined program P+Q under the GPL, that means any
         part of P+Q can be used under the GPL. One part of P+Q is Q. So releasing P+Q under the GPL says that
         Q any part of it can be used under the GPL. Putting it in other words, a user who obtains P+Q under the
         GPL can delete P, so that just Q remains, still under the GPL.

         If the license of module Q permits you to give permission for that, then it is GPL-compatible. Otherwise,
         it is not GPL-compatible.

         If the license for Q says in no uncertain terms that you must do certain things (not compatible with the
         GPL) when you redistribute Q on its own, then it does not permit you to distribute Q under the GPL. It
         follows that you can't release P+Q under the GPL either. So you cannot link or combine P with Q.

  Can I release a modified version of a GPL-covered program in binary form only?

         No. The whole point of the GPL is that all modified versions must be free software—which means, in
         particular, that the source code of the modified version is available to the users.

  I downloaded just the binary from the net. If I distribute copies, do I have to get the source and distribute that
  too?

         Yes. The general rule is, if you distribute binaries, you must distribute the complete corresponding
         source code too. The exception for the case where you received a written offer for source code is quite
         limited.

  I want to distribute binaries via physical media without accompanying sources. Can I provide source code by
  FTP?

         Version 3 of the GPL allows this; see option 6(b) for the full details. Under version 2, you're certainly
         free to offer source via FTP, and most users will get it from there. However, if any of them would rather
         get the source on physical media by mail, you are required to provide that.

         If you distribute binaries via FTP, you should distribute source via FTP.

  My friend got a GPL-covered binary with an offer to supply source, and made a copy for me. Can I use the offer
  myself to obtain the source?
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3/26/22, 10:31  8:21-cv-01943-JLS-KES
               AM                               Document
                                  Frequently Asked             24-2
                                                   Questions about      Filed
                                                                   the GNU      04/22/22
                                                                           Licenses           Page
                                                                                    - GNU Project - Free23  of 38
                                                                                                        Software     Page ID
                                                                                                                 Foundation
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         Yes, you can. The offer must be open to everyone who has a copy of the binary that it accompanies. This
         is why the GPL says your friend must give you a copy of the offer along with a copy of the binary—so you
         can take advantage of it.

  Can I put the binaries on my Internet server and put the source on a different Internet site?

         Yes. Section 6(d) allows this. However, you must provide clear instructions people can follow to obtain
         the source, and you must take care to make sure that the source remains available for as long as you
         distribute the object code.

  I want to distribute an extended version of a GPL-covered program in binary form. Is it enough to distribute
  the source for the original version?

         No, you must supply the source code that corresponds to the binary. Corresponding source means the
         source from which users can rebuild the same binary.

         Part of the idea of free software is that users should have access to the source code for the programs they
         use. Those using your version should have access to the source code for your version.

         A major goal of the GPL is to build up the Free World by making sure that improvement to a free
         program are themselves free. If you release an improved version of a GPL-covered program, you must
         release the improved source code under the GPL.

  I want to distribute binaries, but distributing complete source is inconvenient. Is it ok if I give users the diffs
  from the “standard” version along with the binaries?

         This is a well meaning request, but this method of providing the source doesn't really do the job.

         A user that wants the source a year from now may be unable to get the proper version from another site
         at that time. The standard distribution site may have a newer version, but the same diffs probably won't
         work with that version.

         So you need to provide complete sources, not just diffs, with the binaries.

  Can I make binaries available on a network server, but send sources only to people who order them?

         If you make object code available on a network server, you have to provide the Corresponding Source on
         a network server as well. The easiest way to do this would be to publish them on the same server, but if
         you'd like, you can alternatively provide instructions for getting the source from another server, or even
         a version control system. No matter what you do, the source should be just as easy to access as the object
         code, though. This is all specified in section 6(d) of GPLv3.

         The sources you provide must correspond exactly to the binaries. In particular, you must make sure they
         are for the same version of the program—not an older version and not a newer version.

  How can I make sure each user who downloads the binaries also gets the source?

         You don't have to make sure of this. As long as you make the source and binaries available so that the
         users can see what's available and take what they want, you have done what is required of you. It is up to
         the user whether to download the source.

         Our requirements for redistributors are intended to make sure the users can get the source code, not to
         force users to download the source code even if they don't want it.

  Does the GPL require me to provide source code that can be built to match the exact hash of the binary I am
  distributing?

         Complete corresponding source means the source that the binaries were made from, but that does not
         imply your tools must be able to make a binary that is an exact hash of the binary you are distributing. In
         some cases it could be (nearly) impossible to build a binary from source with an exact hash of the binary
         being distributed — consider the following examples: a system might put timestamps in binaries; or the
         program might have been built against a different (even unreleased) compiler version.

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3/26/22, 10:318:21-cv-01943-JLS-KES
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                                                Questions about      Filed
                                                                the GNU      04/22/22
                                                                        Licenses           Page
                                                                                 - GNU Project - Free24  of 38
                                                                                                     Software     Page ID
                                                                                                              Foundation
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  A company is running a modified version of a GPLed program on a web site. Does the GPL say they must
  release their modified sources?

         The GPL permits anyone to make a modified version and use it without ever distributing it to others.
         What this company is doing is a special case of that. Therefore, the company does not have to release the
         modified sources. The situation is different when the modified program is licensed under the terms of
         the GNU Affero GPL.

         Compare this to a situation where the web site contains or links to separate GPLed programs that are
         distributed to the user when they visit the web site (often written in JavaScript, but other languages are
         used as well). In this situation the source code for the programs being distributed must be released to
         the user under the terms of the GPL.

  A company is running a modified version of a program licensed under the GNU Affero GPL (AGPL) on a web
  site. Does the AGPL say they must release their modified sources?

         The GNU Affero GPL requires that modified versions of the software offer all users interacting with it
         over a computer network an opportunity to receive the source. What the company is doing falls under
         that meaning, so the company must release the modified source code.

  Is making and using multiple copies within one organization or company “distribution”?

         No, in that case the organization is just making the copies for itself. As a consequence, a company or
         other organization can develop a modified version and install that version through its own facilities,
         without giving the staff permission to release that modified version to outsiders.

         However, when the organization transfers copies to other organizations or individuals, that is
         distribution. In particular, providing copies to contractors for use off-site is distribution.

  If someone steals a CD containing a version of a GPL covered program, does the GPL give the thief the right to
  redistribute that version?

         If the version has been released elsewhere, then the thief probably does have the right to make copies
         and redistribute them under the GPL, but if the thief is imprisoned for stealing the CD, they may have to
         wait until their release before doing so.

         If the version in question is unpublished and considered by a company to be its trade secret, then
         publishing it may be a violation of trade secret law, depending on other circumstances. The GPL does
         not change that. If the company tried to release its version and still treat it as a trade secret, that would
         violate the GPL, but if the company hasn't released this version, no such violation has occurred.

  What if a company distributes a copy of some other developers' GPL covered work to me as a trade secret?

         The company has violated the GPL and will have to cease distribution of that program. Note how this
         differs from the theft case above; the company does not intentionally distribute a copy when a copy is
         stolen, so in that case the company has not violated the GPL.

  What if a company distributes a copy of its own GPL-covered work to me as a trade secret?

         If the program distributed does not incorporate anyone else's GPL covered work, then the company is
         not violating the GPL (see “Is the developer of a GPL covered program bound by the GPL?” for more
         information). But it is making two contradictory statements about what you can do with that program:
         that you can redistribute it, and that you can't. It would make sense to demand clarification of the terms
         for use of that program before you accept a copy.

  Why are some GNU libraries released under the ordinary GPL rather than the Lesser GPL?

         Using the Lesser GPL for any particular library constitutes a retreat for free software. It means we
         partially abandon the attempt to defend the users' freedom, and some of the requirements to share what
         is built on top of GPL-covered software. In themselves, those are changes for the worse.



https://www.gnu.org/licenses/gpl-faq.en.html#WhoHasThePower                                                                 23/37
            Case
3/26/22, 10:31 8:21-cv-01943-JLS-KES
               AM                              Document
                                 Frequently Asked             24-2
                                                  Questions about      Filed
                                                                  the GNU      04/22/22
                                                                          Licenses           Page
                                                                                   - GNU Project - Free25  of 38
                                                                                                       Software     Page ID
                                                                                                                Foundation
                                                             #:258
         Sometimes a localized retreat is a good strategy. Sometimes, using the LGPL for a library might lead to
         wider use of that library, and thus to more improvement for it, wider support for free software, and so
         on. This could be good for free software if it happens to a large extent. But how much will this happen?
         We can only speculate.

         It would be nice to try out the LGPL on each library for a while, see whether it helps, and change back to
         the GPL if the LGPL didn't help. But this is not feasible. Once we use the LGPL for a particular library,
         changing back would be difficult.

         So we decide which license to use for each library on a case by case basis. There is a long explanation of
         how we judge the question.

  Using a certain GNU program under the GPL does not fit our project to make proprietary software. Will you
  make an exception for us? It would mean more users of that program.

         Sorry, we don't make such exceptions. It would not be right.

         Maximizing the number of users is not our aim. Rather, we are trying to give the crucial freedoms to as
         many users as possible. In general, proprietary software projects hinder rather than help the cause of
         freedom.

         We do occasionally make license exceptions to assist a project which is producing free software under a
         license other than the GPL. However, we have to see a good reason why this will advance the cause of
         free software.

         We also do sometimes change the distribution terms of a package, when that seems clearly the right way
         to serve the cause of free software; but we are very cautious about this, so you will have to show us very
         convincing reasons.

  Why should programs say “Version 3 of the GPL or any later version”?

         From time to time, at intervals of years, we change the GPL—sometimes to clarify it, sometimes to
         permit certain kinds of use not previously permitted, and sometimes to tighten up a requirement. (The
         last two changes were in 2007 and 1991.) Using this “indirect pointer” in each program makes it possible
         for us to change the distribution terms on the entire collection of GNU software, when we update the
         GPL.

         If each program lacked the indirect pointer, we would be forced to discuss the change at length with
         numerous copyright holders, which would be a virtual impossibility. In practice, the chance of having
         uniform distribution terms for GNU software would be nil.

         Suppose a program says “Version 3 of the GPL or any later version” and a new version of the GPL is
         released. If the new GPL version gives additional permission, that permission will be available
         immediately to all the users of the program. But if the new GPL version has a tighter requirement, it will
         not restrict use of the current version of the program, because it can still be used under GPL version 3.
         When a program says “Version 3 of the GPL or any later version”, users will always be permitted to use
         it, and even change it, according to the terms of GPL version 3 even after later versions of the GPL are
         available.

         If a tighter requirement in a new version of the GPL need not be obeyed for existing software, how is it
         useful? Once GPL version 4 is available, the developers of most GPL-covered programs will release
         subsequent versions of their programs specifying “Version 4 of the GPL or any later version”. Then users
         will have to follow the tighter requirements in GPL version 4, for subsequent versions of the program.

         However, developers are not obligated to do this; developers can continue allowing use of the previous
         version of the GPL, if that is their preference.

  Is it a good idea to use a license saying that a certain program can be used only under the latest version of the
  GNU GPL?

         The reason you shouldn't do that is that it could result some day in withdrawing automatically some
         permissions that the users previously had.
https://www.gnu.org/licenses/gpl-faq.en.html#WhoHasThePower                                                                   24/37
            Case
3/26/22, 10:31 8:21-cv-01943-JLS-KES
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                               Frequently Asked             24-2
                                                Questions about      Filed
                                                                the GNU      04/22/22
                                                                        Licenses           Page
                                                                                 - GNU Project - Free26  of 38
                                                                                                     Software     Page ID
                                                                                                              Foundation
                                                           #:259
         Suppose a program was released in 2000 under “the latest GPL version”. At that time, people could have
         used it under GPLv2. The day we published GPLv3 in 2007, everyone would have been suddenly
         compelled to use it under GPLv3 instead.

         Some users may not even have known about GPL version 3—but they would have been required to use it.
         They could have violated the program's license unintentionally just because they did not get the news.
         That's a bad way to treat people.

         We think it is wrong to take back permissions already granted, except due to a violation. If your freedom
         could be revoked, then it isn't really freedom. Thus, if you get a copy of a program version under one
         version of a license, you should always have the rights granted by that version of the license. Releasing
         under “GPL version N or any later version” upholds that principle.

  Why don't you use the GPL for manuals?

         It is possible to use the GPL for a manual, but the GNU Free Documentation License (GFDL) is much
         better for manuals.

         The GPL was designed for programs; it contains lots of complex clauses that are crucial for programs,
         but that would be cumbersome and unnecessary for a book or manual. For instance, anyone publishing
         the book on paper would have to either include machine readable “source code” of the book along with
         each printed copy, or provide a written offer to send the “source code” later.

         Meanwhile, the GFDL has clauses that help publishers of free manuals make a profit from selling copies
         —cover texts, for instance. The special rules for Endorsements sections make it possible to use the GFDL
         for an official standard. This would permit modified versions, but they could not be labeled as “the
         standard”.

         Using the GFDL, we permit changes in the text of a manual that covers its technical topic. It is important
         to be able to change the technical parts, because people who change a program ought to change the
         documentation to correspond. The freedom to do this is an ethical imperative.

         Our manuals also include sections that state our political position about free software. We mark these as
         “invariant”, so that they cannot be changed or removed. The GFDL makes provisions for these “invariant
         sections”.

  How does the GPL apply to fonts?

         Font licensing is a complex issue which needs serious consideration. The following license exception is
         experimental but approved for general use. We welcome suggestions on this subject—please see this this
         explanatory essay and write to licensing@gnu.org.

         To use this exception, add this text to the license notice of each file in the package (to the extent
         possible), at the end of the text that says the file is distributed under the GNU GPL:

                 As a special exception, if you create a document which uses this font, and embed this font or
                 unaltered portions of this font into the document, this font does not by itself cause the
                 resulting document to be covered by the GNU General Public License. This exception does
                 not however invalidate any other reasons why the document might be covered by the GNU
                 General Public License. If you modify this font, you may extend this exception to your
                 version of the font, but you are not obligated to do so. If you do not wish to do so, delete this
                 exception statement from your version.

  I am writing a website maintenance system (called a “content management system” by some), or some other
  application which generates web pages from templates. What license should I use for those templates?

         Templates are minor enough that it is not worth using copyleft to protect them. It is normally harmless
         to use copyleft on minor works, but templates are a special case, because they are combined with data
         provided by users of the application and the combination is distributed. So, we recommend that you
         license your templates under simple permissive terms.


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            Case
3/26/22, 10:31 8:21-cv-01943-JLS-KES
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                               Frequently Asked             24-2
                                                Questions about      Filed
                                                                the GNU      04/22/22
                                                                        Licenses           Page
                                                                                 - GNU Project - Free27  of 38
                                                                                                     Software     Page ID
                                                                                                              Foundation
                                                           #:260
         Some templates make calls into JavaScript functions. Since Javascript is often non-trivial, it is worth
         copylefting. Because the templates will be combined with user data, it's possible that template+user
         data+JavaScript would be considered one work under copyright law. A line needs to be drawn between
         the JavaScript (copylefted), and the user code (usually under incompatible terms).




         Here's an exception for JavaScript code that does this:

                 As a special exception to the GPL, any HTML file which merely makes function calls to this
                 code, and for that purpose includes it by reference shall be deemed a separate work for
                 copyright law purposes. In addition, the copyright holders of this code give you permission
                 to combine this code with free software libraries that are released under the GNU LGPL.
                 You may copy and distribute such a system following the terms of the GNU GPL for this
                 code and the LGPL for the libraries. If you modify this code, you may extend this exception
                 to your version of the code, but you are not obligated to do so. If you do not wish to do so,
                 delete this exception statement from your version.

  Can I release a program under the GPL which I developed using nonfree tools?

         Which programs you used to edit the source code, or to compile it, or study it, or record it, usually makes
         no difference for issues concerning the licensing of that source code.

         However, if you link nonfree libraries with the source code, that would be an issue you need to deal with.
         It does not preclude releasing the source code under the GPL, but if the libraries don't fit under the
         “system library” exception, you should affix an explicit notice giving permission to link your program
         with them. The FAQ entry about using GPL incompatible libraries provides more information about
         how to do that.

  Are there translations of the GPL into other languages?

         It would be useful to have translations of the GPL into languages other than English. People have even
         written translations and sent them to us. But we have not dared to approve them as officially valid. That
         carries a risk so great we do not dare accept it.

         A legal document is in some ways like a program. Translating it is like translating a program from one
         language and operating system to another. Only a lawyer skilled in both languages can do it and even
         then, there is a risk of introducing a bug.

         If we were to approve, officially, a translation of the GPL, we would be giving everyone permission to do
         whatever the translation says they can do. If it is a completely accurate translation, that is fine. But if
         there is an error in the translation, the results could be a disaster which we could not fix.
https://www.gnu.org/licenses/gpl-faq.en.html#WhoHasThePower                                                                 26/37
            Case
3/26/22, 10:31 AM8:21-cv-01943-JLS-KES         Document
                                 Frequently Asked             24-2
                                                  Questions about      Filed
                                                                  the GNU      04/22/22
                                                                          Licenses           Page
                                                                                   - GNU Project - Free28  of 38
                                                                                                       Software     Page ID
                                                                                                                Foundation
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         If a program has a bug, we can release a new version, and eventually the old version will more or less
         disappear. But once we have given everyone permission to act according to a particular translation, we
         have no way of taking back that permission if we find, later on, that it had a bug.

         Helpful people sometimes offer to do the work of translation for us. If the problem were a matter of
         finding someone to do the work, this would solve it. But the actual problem is the risk of error, and
         offering to do the work does not avoid the risk. We could not possibly authorize a translation written by
         a non-lawyer.

         Therefore, for the time being, we are not approving translations of the GPL as globally valid and binding.
         Instead, we are doing two things:

                 Referring people to unofficial translations. This means that we permit people to write
                 translations of the GPL, but we don't approve them as legally valid and binding.

                 An unapproved translation has no legal force, and it should say so explicitly. It should be marked
                 as follows:

                         This translation of the GPL is informal, and not officially approved by the Free
                         Software Foundation as valid. To be completely sure of what is permitted, refer to
                         the original GPL (in English).

                 But the unapproved translation can serve as a hint for how to understand the English GPL. For
                 many users, that is sufficient.

                 However, businesses using GNU software in commercial activity, and people doing public ftp
                 distribution, should need to check the real English GPL to make sure of what it permits.

                 Publishing translations valid for a single country only.

                 We are considering the idea of publishing translations which are officially valid only for one
                 country. This way, if there is a mistake, it will be limited to that country, and the damage will not
                 be too great.

                 It will still take considerable expertise and effort from a sympathetic and capable lawyer to make
                 a translation, so we cannot promise any such translations soon.

  If a programming language interpreter has a license that is incompatible with the GPL, can I run GPL-covered
  programs on it?

         When the interpreter just interprets a language, the answer is yes. The interpreted program, to the
         interpreter, is just data; the GPL doesn't restrict what tools you process the program with.

         However, when the interpreter is extended to provide “bindings” to other facilities (often, but not
         necessarily, libraries), the interpreted program is effectively linked to the facilities it uses through these
         bindings. The JNI or Java Native Interface is an example of such a facility; libraries that are accessed in
         this way are linked dynamically with the Java programs that call them.

         So if these facilities are released under a GPL-incompatible license, the situation is like linking in any
         other way with a GPL-incompatible library. Which implies that:

              1. If you are writing code and releasing it under the GPL, you can state an explicit exception giving
                 permission to link it with those GPL-incompatible facilities.
              2. If you wrote and released the program under the GPL, and you designed it specifically to work
                 with those facilities, people can take that as an implicit exception permitting them to link it with
                 those facilities. But if that is what you intend, it is better to say so explicitly.
              3. You can't take someone else's GPL-covered code and use it that way, or add such exceptions to it.
                 Only the copyright holders of that code can add the exception.

  Who has the power to enforce the GPL?



https://www.gnu.org/licenses/gpl-faq.en.html#WhoHasThePower                                                                   27/37
            Case
3/26/22, 10:31  8:21-cv-01943-JLS-KES
               AM                              Document
                                 Frequently Asked             24-2
                                                  Questions about      Filed
                                                                  the GNU      04/22/22
                                                                          Licenses           Page
                                                                                   - GNU Project - Free29  of 38
                                                                                                       Software     Page ID
                                                                                                                Foundation
                                                             #:262
         Since the GPL is a copyright license, the copyright holders of the software are the ones who have the
         power to enforce the GPL. If you see a violation of the GPL, you should inform the developers of the
         GPL-covered software involved. They either are the copyright holders, or are connected with the
         copyright holders. Learn more about reporting GPL violations.

  In an object-oriented language such as Java, if I use a class that is GPLed without modifying, and subclass it, in
  what way does the GPL affect the larger program?

         Subclassing is creating a derivative work. Therefore, the terms of the GPL affect the whole program
         where you create a subclass of a GPLed class.

  If I port my program to GNU/Linux, does that mean I have to release it as free software under the GPL or
  some other Free Software license?

         In general, the answer is no—this is not a legal requirement. In specific, the answer depends on which
         libraries you want to use and what their licenses are. Most system libraries either use the GNU Lesser
         GPL, or use the GNU GPL plus an exception permitting linking the library with anything. These libraries
         can be used in nonfree programs; but in the case of the Lesser GPL, it does have some requirements you
         must follow.

         Some libraries are released under the GNU GPL alone; you must use a GPL-compatible license to use
         those libraries. But these are normally the more specialized libraries, and you would not have had
         anything much like them on another platform, so you probably won't find yourself wanting to use these
         libraries for simple porting.

         Of course, your software is not a contribution to our community if it is not free, and people who value
         their freedom will refuse to use it. Only people willing to give up their freedom will use your software,
         which means that it will effectively function as an inducement for people to lose their freedom.

         If you hope some day to look back on your career and feel that it has contributed to the growth of a good
         and free society, you need to make your software free.

  I just found out that a company has a copy of a GPLed program, and it costs money to get it. Aren't they
  violating the GPL by not making it available on the Internet?

         No. The GPL does not require anyone to use the Internet for distribution. It also does not require anyone
         in particular to redistribute the program. And (outside of one special case), even if someone does decide
         to redistribute the program sometimes, the GPL doesn't say he has to distribute a copy to you in
         particular, or any other person in particular.

         What the GPL requires is that he must have the freedom to distribute a copy to you if he wishes to. Once
         the copyright holder does distribute a copy of the program to someone, that someone can then
         redistribute the program to you, or to anyone else, as he sees fit.

  Can I release a program with a license which says that you can distribute modified versions of it under the GPL
  but you can't distribute the original itself under the GPL?

         No. Such a license would be self-contradictory. Let's look at its implications for me as a user.

         Suppose I start with the original version (call it version A), add some code (let's imagine it is 1000 lines),
         and release that modified version (call it B) under the GPL. The GPL says anyone can change version B
         again and release the result under the GPL. So I (or someone else) can delete those 1000 lines,
         producing version C which has the same code as version A but is under the GPL.

         If you try to block that path, by saying explicitly in the license that I'm not allowed to reproduce
         something identical to version A under the GPL by deleting those lines from version B, in effect the
         license now says that I can't fully use version B in all the ways that the GPL permits. In other words, the
         license does not in fact allow a user to release a modified version such as B under the GPL.

  Does moving a copy to a majority-owned, and controlled, subsidiary constitute distribution?


https://www.gnu.org/licenses/gpl-faq.en.html#WhoHasThePower                                                                   28/37
            Case
3/26/22, 10:318:21-cv-01943-JLS-KES
               AM                            Document
                               Frequently Asked             24-2
                                                Questions about      Filed
                                                                the GNU      04/22/22
                                                                        Licenses           Page
                                                                                 - GNU Project - Free30  of 38
                                                                                                     Software     Page ID
                                                                                                              Foundation
                                                           #:263
         Whether moving a copy to or from this subsidiary constitutes “distribution” is a matter to be decided in
         each case under the copyright law of the appropriate jurisdiction. The GPL does not and cannot override
         local laws. US copyright law is not entirely clear on the point, but appears not to consider this
         distribution.

         If, in some country, this is considered distribution, and the subsidiary must receive the right to
         redistribute the program, that will not make a practical difference. The subsidiary is controlled by the
         parent company; rights or no rights, it won't redistribute the program unless the parent company
         decides to do so.

  Can software installers ask people to click to agree to the GPL? If I get some software under the GPL, do I have
  to agree to anything?

         Some software packaging systems have a place which requires you to click through or otherwise indicate
         assent to the terms of the GPL. This is neither required nor forbidden. With or without a click through,
         the GPL's rules remain the same.

         Merely agreeing to the GPL doesn't place any obligations on you. You are not required to agree to
         anything to merely use software which is licensed under the GPL. You only have obligations if you
         modify or distribute the software. If it really bothers you to click through the GPL, nothing stops you
         from hacking the GPLed software to bypass this.

  I would like to bundle GPLed software with some sort of installation software. Does that installer need to have
  a GPL-compatible license?

         No. The installer and the files it installs are separate works. As a result, the terms of the GPL do not
         apply to the installation software.

  Some distributors of GPLed software require me in their umbrella EULAs or as part of their downloading
  process to “represent and warrant” that I am located in the US or that I intend to distribute the software in
  compliance with relevant export control laws. Why are they doing this and is it a violation of those distributors'
  obligations under GPL?

         This is not a violation of the GPL. Those distributors (almost all of whom are commercial businesses
         selling free software distributions and related services) are trying to reduce their own legal risks, not to
         control your behavior. Export control law in the United States might make them liable if they knowingly
         export software into certain countries, or if they give software to parties they know will make such
         exports. By asking for these statements from their customers and others to whom they distribute
         software, they protect themselves in the event they are later asked by regulatory authorities what they
         knew about where software they distributed was going to wind up. They are not restricting what you can
         do with the software, only preventing themselves from being blamed with respect to anything you do.
         Because they are not placing additional restrictions on the software, they do not violate section 10 of
         GPLv3 or section 6 of GPLv2.

         The FSF opposes the application of US export control laws to free software. Not only are such laws
         incompatible with the general objective of software freedom, they achieve no reasonable governmental
         purpose, because free software is currently and should always be available from parties in almost every
         country, including countries that have no export control laws and which do not participate in US-led
         trade embargoes. Therefore, no country's government is actually deprived of free software by US export
         control laws, while no country's citizens should be deprived of free software, regardless of their
         governments' policies, as far as we are concerned. Copies of all GPL-licensed software published by the
         FSF can be obtained from us without making any representation about where you live or what you
         intend to do. At the same time, the FSF understands the desire of commercial distributors located in the
         US to comply with US laws. They have a right to choose to whom they distribute particular copies of free
         software; exercise of that right does not violate the GPL unless they add contractual restrictions beyond
         those permitted by the GPL.

  Can I use GPLed software on a device that will stop operating if customers do not continue paying a
  subscription fee?

         No. In this scenario, the requirement to keep paying a fee limits the user's ability to run the program.
         This is an additional requirement on top of the GPL, and the license prohibits it.
https://www.gnu.org/licenses/gpl-faq.en.html#WhoHasThePower                                                                 29/37
            Case
3/26/22, 10:318:21-cv-01943-JLS-KES
               AM                          Document
                             Frequently Asked             24-2
                                              Questions about      Filed
                                                              the GNU      04/22/22
                                                                      Licenses           Page
                                                                               - GNU Project - Free31  of 38
                                                                                                   Software     Page ID
                                                                                                            Foundation

  How do I upgrade from (L)GPLv2 to (L)GPLv3?            #:264

         First, include the new version of the license in your package. If you're using LGPLv3 in your project, be
         sure to include copies of both GPLv3 and LGPLv3, since LGPLv3 is now written as a set of additional
         permissions on top of GPLv3.

         Second, replace all your existing v2 license notices (usually at the top of each file) with the new
         recommended text available on the GNU licenses howto. It's more future-proof because it no longer
         includes the FSF's postal mailing address.

         Of course, any descriptive text (such as in a README) which talks about the package's license should
         also be updated appropriately.

  How does GPLv3 make BitTorrent distribution easier?

         Because GPLv2 was written before peer-to-peer distribution of software was common, it is difficult to
         meet its requirements when you share code this way. The best way to make sure you are in compliance
         when distributing GPLv2 object code on BitTorrent would be to include all the corresponding source in
         the same torrent, which is prohibitively expensive.

         GPLv3 addresses this problem in two ways. First, people who download this torrent and send the data to
         others as part of that process are not required to do anything. That's because section 9 says “Ancillary
         propagation of a covered work occurring solely as a consequence of using peer-to-peer transmission to
         receive a copy likewise does not require acceptance [of the license].”

         Second, section 6(e) of GPLv3 is designed to give distributors—people who initially seed torrents—a
         clear and straightforward way to provide the source, by telling recipients where it is available on a public
         network server. This ensures that everyone who wants to get the source can do so, and it's almost no
         hassle for the distributor.

  What is tivoization? How does GPLv3 prevent it?

         Some devices utilize free software that can be upgraded, but are designed so that users are not allowed to
         modify that software. There are lots of different ways to do this; for example, sometimes the hardware
         checksums the software that is installed, and shuts down if it doesn't match an expected signature. The
         manufacturers comply with GPLv2 by giving you the source code, but you still don't have the freedom to
         modify the software you're using. We call this practice tivoization.

         When people distribute User Products that include software under GPLv3, section 6 requires that they
         provide you with information necessary to modify that software. User Products is a term specially
         defined in the license; examples of User Products include portable music players, digital video recorders,
         and home security systems.

  Does GPLv3 prohibit DRM?

         It does not; you can use code released under GPLv3 to develop any kind of DRM technology you like.
         However, if you do this, section 3 says that the system will not count as an effective technological
         “protection” measure, which means that if someone breaks the DRM, she will be free to distribute her
         software too, unhindered by the DMCA and similar laws.

         As usual, the GNU GPL does not restrict what people do in software, it just stops them from restricting
         others.

  Can I use the GPL to license hardware?

         Any material that can be copyrighted can be licensed under the GPL. GPLv3 can also be used to license
         materials covered by other copyright-like laws, such as semiconductor masks. So, as an example, you can
         release a drawing of a physical object or circuit under the GPL.

         In many situations, copyright does not cover making physical hardware from a drawing. In these
         situations, your license for the drawing simply can't exert any control over making or selling physical

https://www.gnu.org/licenses/gpl-faq.en.html#WhoHasThePower                                                               30/37
            Case
3/26/22, 10:31 8:21-cv-01943-JLS-KES
               AM                              Document
                                 Frequently Asked             24-2
                                                  Questions about      Filed
                                                                  the GNU      04/22/22
                                                                          Licenses           Page
                                                                                   - GNU Project - Free32  of 38
                                                                                                       Software     Page ID
                                                                                                                Foundation
                                                             #:265
         hardware, regardless of the license you use. When copyright does cover making hardware, for instance
         with IC masks, the GPL handles that case in a useful way.

  I use public key cryptography to sign my code to assure its authenticity. Is it true that GPLv3 forces me to
  release my private signing keys?

         No. The only time you would be required to release signing keys is if you conveyed GPLed software
         inside a User Product, and its hardware checked the software for a valid cryptographic signature before
         it would function. In that specific case, you would be required to provide anyone who owned the device,
         on demand, with the key to sign and install modified software on the device so that it will run. If each
         instance of the device uses a different key, then you need only give each purchaser a key for that
         instance.

  Does GPLv3 require that voters be able to modify the software running in a voting machine?

         No. Companies distributing devices that include software under GPLv3 are at most required to provide
         the source and Installation Information for the software to people who possess a copy of the object code.
         The voter who uses a voting machine (like any other kiosk) doesn't get possession of it, not even
         temporarily, so the voter also does not get possession of the binary software in it.

         Note, however, that voting is a very special case. Just because the software in a computer is free does not
         mean you can trust the computer for voting. We believe that computers cannot be trusted for voting.
         Voting should be done on paper.

  Does GPLv3 have a “patent retaliation clause”?

         In effect, yes. Section 10 prohibits people who convey the software from filing patent suits against other
         licensees. If someone did so anyway, section 8 explains how they would lose their license and any patent
         licenses that accompanied it.

  Can I use snippets of GPL-covered source code within documentation that is licensed under some license that
  is incompatible with the GPL?

         If the snippets are small enough that you can incorporate them under fair use or similar laws, then yes.
         Otherwise, no.

  The beginning of GPLv3 section 6 says that I can convey a covered work in object code form “under the terms
  of sections 4 and 5” provided I also meet the conditions of section 6. What does that mean?

         This means that all the permissions and conditions you have to convey source code also apply when you
         convey object code: you may charge a fee, you must keep copyright notices intact, and so on.

  My company owns a lot of patents. Over the years we've contributed code to projects under “GPL version 2 or
  any later version”, and the project itself has been distributed under the same terms. If a user decides to take
  the project's code (incorporating my contributions) under GPLv3, does that mean I've automatically granted
  GPLv3's explicit patent license to that user?

         No. When you convey GPLed software, you must follow the terms and conditions of one particular
         version of the license. When you do so, that version defines the obligations you have. If users may also
         elect to use later versions of the GPL, that's merely an additional permission they have—it does not
         require you to fulfill the terms of the later version of the GPL as well.

         Do not take this to mean that you can threaten the community with your patents. In many countries,
         distributing software under GPLv2 provides recipients with an implicit patent license to exercise their
         rights under the GPL. Even if it didn't, anyone considering enforcing their patents aggressively is an
         enemy of the community, and we will defend ourselves against such an attack.

  If I distribute a proprietary program that links against an LGPLv3-covered library that I've modified, what is
  the “contributor version” for purposes of determining the scope of the explicit patent license grant I'm making
  —is it just the library, or is it the whole combination?

         The “contributor version” is only your version of the library.
https://www.gnu.org/licenses/gpl-faq.en.html#WhoHasThePower                                                                   31/37
            Case
3/26/22, 10:318:21-cv-01943-JLS-KES
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                              Frequently Asked             24-2
                                               Questions about      Filed
                                                               the GNU      04/22/22
                                                                       Licenses           Page
                                                                                - GNU Project - Free33  of 38
                                                                                                    Software     Page ID
                                                                                                             Foundation

  Is GPLv3 compatible with GPLv2?                         #:266

         No. Many requirements have changed from GPLv2 to GPLv3, which means that the precise requirement
         of GPLv2 is not present in GPLv3, and vice versa. For instance, the Termination conditions of GPLv3 are
         considerably more permissive than those of GPLv2, and thus different from the Termination conditions
         of GPLv2.

         Due to these differences, the two licenses are not compatible: if you tried to combine code released
         under GPLv2 with code under GPLv3, you would violate section 6 of GPLv2.

         However, if code is released under GPL “version 2 or later,” that is compatible with GPLv3 because
         GPLv3 is one of the options it permits.

  Does GPLv2 have a requirement about delivering installation information?

         GPLv3 explicitly requires redistribution to include the full necessary “Installation Information.” GPLv2
         doesn't use that term, but it does require redistribution to include “scripts used to control compilation
         and installation of the executable” with the complete and corresponding source code. This covers part,
         but not all, of what GPLv3 calls “Installation Information.” Thus, GPLv3's requirement about
         installation information is stronger.

  What does it mean to “cure” a violation of GPLv3?

         To cure a violation means to adjust your practices to comply with the requirements of the license.

  The warranty and liability disclaimers in GPLv3 seem specific to U.S. law. Can I add my own disclaimers to my
  own code?

         Yes. Section 7 gives you permission to add your own disclaimers, specifically 7(a).

  My program has interactive user interfaces that are non-visual in nature. How can I comply with the
  Appropriate Legal Notices requirement in GPLv3?

         All you need to do is ensure that the Appropriate Legal Notices are readily available to the user in your
         interface. For example, if you have written an audio interface, you could include a command that reads
         the notices aloud.

  If I give a copy of a GPLv3-covered program to a coworker at my company, have I “conveyed” the copy to that
  coworker?

         As long as you're both using the software in your work at the company, rather than personally, then the
         answer is no. The copies belong to the company, not to you or the coworker. This copying is propagation,
         not conveying, because the company is not making copies available to others.

  If I distribute a GPLv3-covered program, can I provide a warranty that is voided if the user modifies the
  program?

         Yes. Just as devices do not need to be warranted if users modify the software inside them, you are not
         required to provide a warranty that covers all possible activities someone could undertake with GPLv3-
         covered software.

  Why did you decide to write the GNU Affero GPLv3 as a separate license?

         Early drafts of GPLv3 allowed licensors to add an Affero-like requirement to publish source in section 7.
         However, some companies that develop and rely upon free software consider this requirement to be too
         burdensome. They want to avoid code with this requirement, and expressed concern about the
         administrative costs of checking code for this additional requirement. By publishing the GNU Affero
         GPLv3 as a separate license, with provisions in it and GPLv3 to allow code under these licenses to link to
         each other, we accomplish all of our original goals while making it easier to determine which code has
         the source publication requirement.

  Why did you invent the new terms “propagate” and “convey” in GPLv3?

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            Case
3/26/22, 10:31  8:21-cv-01943-JLS-KES
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                                 Frequently Asked             24-2
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                                                                  the GNU      04/22/22
                                                                          Licenses           Page
                                                                                   - GNU Project - Free34  of 38
                                                                                                       Software     Page ID
                                                                                                                Foundation
                                                             #:267
         The term “distribute” used in GPLv2 was borrowed from United States copyright law. Over the years, we
         learned that some jurisdictions used this same word in their own copyright laws, but gave it different
         meanings. We invented these new terms to make our intent as clear as possible no matter where the
         license is interpreted. They are not used in any copyright law in the world, and we provide their
         definitions directly in the license.

  I'd like to license my code under the GPL, but I'd also like to make it clear that it can't be used for military
  and/or commercial uses. Can I do this?

         No, because those two goals contradict each other. The GNU GPL is designed specifically to prevent the
         addition of further restrictions. GPLv3 allows a very limited set of them, in section 7, but any other
         added restriction can be removed by the user.

         More generally, a license that limits who can use a program, or for what, is not a free software license.

  Is “convey” in GPLv3 the same thing as what GPLv2 means by “distribute”?

         Yes, more or less. During the course of enforcing GPLv2, we learned that some jurisdictions used the
         word “distribute” in their own copyright laws, but gave it different meanings. We invented a new term to
         make our intent clear and avoid any problems that could be caused by these differences.

  GPLv3 gives “making available to the public” as an example of propagation. What does this mean? Is making
  available a form of conveying?

         One example of “making available to the public” is putting the software on a public web or FTP server.
         After you do this, some time may pass before anybody actually obtains the software from you—but
         because it could happen right away, you need to fulfill the GPL's obligations right away as well. Hence,
         we defined conveying to include this activity.

  Since distribution and making available to the public are forms of propagation that are also conveying in
  GPLv3, what are some examples of propagation that do not constitute conveying?

         Making copies of the software for yourself is the main form of propagation that is not conveying. You
         might do this to install the software on multiple computers, or to make backups.

  Does prelinking a GPLed binary to various libraries on the system, to optimize its performance, count as
  modification?

         No. Prelinking is part of a compilation process; it doesn't introduce any license requirements above and
         beyond what other aspects of compilation would. If you're allowed to link the program to the libraries at
         all, then it's fine to prelink with them as well. If you distribute prelinked object code, you need to follow
         the terms of section 6.

  If someone installs GPLed software on a laptop, and then lends that laptop to a friend without providing
  source code for the software, have they violated the GPL?

         No. In the jurisdictions where we have investigated this issue, this sort of loan would not count as
         conveying. The laptop's owner would not have any obligations under the GPL.

  Suppose that two companies try to circumvent the requirement to provide Installation Information by having
  one company release signed software, and the other release a User Product that only runs signed software from
  the first company. Is this a violation of GPLv3?

         Yes. If two parties try to work together to get around the requirements of the GPL, they can both be
         pursued for copyright infringement. This is especially true since the definition of convey explicitly
         includes activities that would make someone responsible for secondary infringement.

  Am I complying with GPLv3 if I offer binaries on an FTP server and sources by way of a link to a source code
  repository in a version control system, like CVS or Subversion?

         This is acceptable as long as the source checkout process does not become burdensome or otherwise
         restrictive. Anybody who can download your object code should also be able to check out source from
https://www.gnu.org/licenses/gpl-faq.en.html#WhoHasThePower                                                               33/37
            Case
3/26/22, 10:31  8:21-cv-01943-JLS-KES
               AM                               Document
                                  Frequently Asked             24-2
                                                   Questions about      Filed
                                                                   the GNU      04/22/22
                                                                           Licenses           Page
                                                                                    - GNU Project - Free35  of 38
                                                                                                        Software     Page ID
                                                                                                                 Foundation
                                                              #:268
         your version control system, using a publicly available free software client. Users should be provided
         with clear and convenient instructions for how to get the source for the exact object code they
         downloaded—they may not necessarily want the latest development code, after all.

  Can someone who conveys GPLv3-covered software in a User Product use remote attestation to prevent a user
  from modifying that software?

         No. The definition of Installation Information, which must be provided with source when the software is
         conveyed inside a User Product, explicitly says: “The information must suffice to ensure that the
         continued functioning of the modified object code is in no case prevented or interfered with solely
         because modification has been made.” If the device uses remote attestation in some way, the Installation
         Information must provide you some means for your modified software to report itself as legitimate.

  What does “rules and protocols for communication across the network” mean in GPLv3?

         This refers to rules about traffic you can send over the network. For example, if there is a limit on the
         number of requests you can send to a server per day, or the size of a file you can upload somewhere, your
         access to those resources may be denied if you do not respect those limits.

         These rules do not include anything that does not pertain directly to data traveling across the network.
         For instance, if a server on the network sent messages for users to your device, your access to the
         network could not be denied merely because you modified the software so that it did not display the
         messages.

  Distributors that provide Installation Information under GPLv3 are not required to provide “support service”
  for the product. What kind of “support service”do you mean?

         This includes the kind of service many device manufacturers provide to help you install, use, or
         troubleshoot the product. If a device relies on access to web services or similar technology to function
         properly, those should normally still be available to modified versions, subject to the terms in section 6
         regarding access to a network.

  In GPLv3 and AGPLv3, what does it mean when it says “notwithstanding any other provision of this License”?

         This simply means that the following terms prevail over anything else in the license that may conflict
         with them. For example, without this text, some people might have claimed that you could not combine
         code under GPLv3 with code under AGPLv3, because the AGPL's additional requirements would be
         classified as “further restrictions” under section 7 of GPLv3. This text makes clear that our intended
         interpretation is the correct one, and you can make the combination.

         This text only resolves conflicts between different terms of the license. When there is no conflict between
         two conditions, then you must meet them both. These paragraphs don't grant you carte blanche to
         ignore the rest of the license—instead they're carving out very limited exceptions.

  Under AGPLv3, when I modify the Program under section 13, what Corresponding Source does it have to
  offer?

         “Corresponding Source” is defined in section 1 of the license, and you should provide what it lists. So, if
         your modified version depends on libraries under other licenses, such as the Expat license or GPLv3, the
         Corresponding Source should include those libraries (unless they are System Libraries). If you have
         modified those libraries, you must provide your modified source code for them.

         The last sentence of the first paragraph of section 13 is only meant to reinforce what most people would
         have naturally assumed: even though combinations with code under GPLv3 are handled through a
         special exception in section 13, the Corresponding Source should still include the code that is combined
         with the Program this way. This sentence does not mean that you only have to provide the source that's
         covered under GPLv3; instead it means that such code is not excluded from the definition of
         Corresponding Source.

  In AGPLv3, what counts as “interacting with [the software] remotely through a computer network?”


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            Case
3/26/22, 10:31 AM8:21-cv-01943-JLS-KES         Document
                                 Frequently Asked             24-2
                                                  Questions about      Filed
                                                                  the GNU      04/22/22
                                                                          Licenses           Page
                                                                                   - GNU Project - Free36  of 38
                                                                                                       Software     Page ID
                                                                                                                Foundation
                                                             #:269
         If the program is expressly designed to accept user requests and send responses over a network, then it
         meets these criteria. Common examples of programs that would fall into this category include web and
         mail servers, interactive web-based applications, and servers for games that are played online.

         If a program is not expressly designed to interact with a user through a network, but is being run in an
         environment where it happens to do so, then it does not fall into this category. For example, an
         application is not required to provide source merely because the user is running it over SSH, or a remote
         X session.

  How does GPLv3's concept of “you” compare to the definition of “Legal Entity” in the Apache License 2.0?

         They're effectively identical. The definition of “Legal Entity” in the Apache License 2.0 is very standard
         in various kinds of legal agreements—so much so that it would be very surprising if a court did not
         interpret the term in the same way in the absence of an explicit definition. We fully expect them to do
         the same when they look at GPLv3 and consider who qualifies as a licensee.

  In GPLv3, what does “the Program” refer to? Is it every program ever released under GPLv3?

         The term “the Program” means one particular work that is licensed under GPLv3 and is received by a
         particular licensee from an upstream licensor or distributor. The Program is the particular work of
         software that you received in a given instance of GPLv3 licensing, as you received it.

         “The Program” cannot mean “all the works ever licensed under GPLv3”; that interpretation makes no
         sense for a number of reasons. We've published an analysis of the term “the Program” for those who
         would like to learn more about this.

  If I only make copies of a GPL-covered program and run them, without distributing or conveying them to
  others, what does the license require of me?

         Nothing. The GPL does not place any conditions on this activity.

  If some network client software is released under AGPLv3, does it have to be able to provide source to the
  servers it interacts with?

         AGPLv3 requires a program to offer source code to “all users interacting with it remotely through a
         computer network.” It doesn't matter if you call the program a “client” or a “server,” the question you
         need to ask is whether or not there is a reasonable expectation that a person will be interacting with the
         program remotely over a network.

  For software that runs a proxy server licensed under the AGPL, how can I provide an offer of source to users
  interacting with that code?

         For software on a proxy server, you can provide an offer of source through a normal method of
         delivering messages to users of that kind of proxy. For example, a Web proxy could use a landing page.
         When users initially start using the proxy, you can direct them to a page with the offer of source along
         with any other information you choose to provide.

         The AGPL says you must make the offer to “all users.” If you know that a certain user has already been
         shown the offer, for the current version of the software, you don't have to repeat it to that user again.

  How are the various GNU licenses compatible with each other?

         The various GNU licenses enjoy broad compatibility between each other. The only time you may not be
         able to combine code under two of these licenses is when you want to use code that's only under an older
         version of a license with code that's under a newer version.

         Below is a detailed compatibility matrix for various combinations of the GNU licenses, to provide an
         easy-to-use reference for specific cases. It assumes that someone else has written some software under
         one of these licenses, and you want to somehow incorporate code from that into a project that you're
         releasing (either your own original work, or a modified version of someone else's software). Find the
         license for your project in a column at the top of the table, and the license for the other code in a row on
         the left. The cell where they meet will tell you whether or not this combination is permitted.
https://www.gnu.org/licenses/gpl-faq.en.html#WhoHasThePower                                                                   35/37
Case 8:21-cv-01943-JLS-KES Document 24-2 Filed 04/22/22 Page 37 of 38 Page ID
                                  #:270
Case 8:21-cv-01943-JLS-KES Document 24-2 Filed 04/22/22 Page 38 of 38 Page ID
                                  #:271
